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                                                                              13
                                                                                 Attorneys for Defendants Diamondback Shooting Sports, Inc.,
                                                                              14 Loan Prairie, LLC d/b/a The Hub, SNG Tactical, LLC and Sprague’s Sports, Inc.

                                                                              15                        IN THE UNITED STATES DISTRICT COURT
                                                                              16                                DISTRICT OF ARIZONA

                                                                              17   Estados Unidos Mexicanos,
                                                                              18
                                                                                                    Plaintiff,                    Case No: 4:22-cv-00472-TUC-RM
                                                                              19 vs.
                                                                                                                                  LOAN PRAIRIE, LLC’S FIRST
                                                                              20                                                  AMENDED ANSWER AND
                                                                                   Diamondback Shooting Sports, Inc., an
                                                                              21 Arizona corporation; SNG Tactical, LLC,          AFFIRMATIVE DEFENSES TO
                                                                                                                                  PLAINTIFF’S COMPLAINT
                                                                              22
                                                                                 an Arizona limited liability company;
                                                                                 Loan Prairie, LLC D/B/A The Hub, an
                                                                                                                                  JURY TRIAL DEMANDED
                                                                              23 Arizona limited liability company; Ammo
                                                                                 A-Z, LLC, an Arizona limited liability
                                                                              24 company; Sprague’s Sports, Inc., an

                                                                              25 Arizona corporation,

                                                                              26                   Defendants.
                                                                              27
                                                                                        Defendant Loan Prairie, LLC d/b/a The Hub (“Loan Prairie”) by and through its
                                                                              28
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                                                                               1 attorneys, Renzulli Law Firm, LLP and Lorber, Greenfield & Olsen, LLP, respectfully submits

                                                                               2
                                                                                   its First Amended Answer to Plaintiff’s Complaint as follows:
                                                                               3
                                                                                                                       I.      INTRODUCTION
                                                                               4

                                                                               5          1.     Loan Prairie denies the allegations in Paragraph 1 of the Complaint, except admits

                                                                               6 that it is a Federal Firearms Licensee located in the State of Arizona. To the extent the

                                                                               7
                                                                                   allegations in Paragraph 1 of the Complaint are directed to other defendants, Loan Prairie denies
                                                                               8
                                                                                   knowledge or information sufficient to form a belief about the truth of such allegations, and
                                                                               9

                                                                              10 refers all questions of law to this Honorable Court.

                                                                              11          2.     Loan Prairie denies the allegations in Paragraph 2 of the Complaint. To the extent the
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                                                                              12 allegations in Paragraph 2 of the Complaint are directed to other defendants, Loan Prairie denies

                                                                              13
                                                                                   knowledge or information sufficient to form a belief about the truth of such allegations, so same are
                                                                              14

                                                                              15
                                                                                   denied.

                                                                              16          3.     Loan Prairie states that the allegations in Paragraph 3 of the Complaint are directed
                                                                              17 to another defendant. To the extent that a response is required, it denies knowledge or information

                                                                              18
                                                                                   sufficient to form a belief about the truth of the allegations in Paragraph 3 of the Complaint, and
                                                                              19
                                                                                   refers all questions of law to this Honorable Court.
                                                                              20

                                                                              21          4.     Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              22 truth of the actions of the United States or persons unaffiliated with Loan Prairie in Paragraph 4 of

                                                                              23
                                                                                   the Complaint, so same are denied, but Loan Prairie specifically denies any allegation in Paragraph
                                                                              24
                                                                                   4 of the Complaint that Loan Prairie had actual or constructive knowledge of any alleged illegal
                                                                              25

                                                                              26 activity taking place on its premises. To the extent the allegations in Paragraph 4 of the Complaint
                                                                              27 are directed to other defendants, Loan Prairie denies knowledge or information sufficient to form a

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                                                                               1 belief about the truth of such allegations, and refers all questions of law to this Honorable Court.

                                                                               2
                                                                                          5.     Loan Prairie denies the allegations in Paragraph 5 of the Complaint. To the extent the
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                                                                                   allegations in Paragraph 5 of the Complaint are directed to other defendants, Loan Prairie denies
                                                                               4

                                                                               5 knowledge or information sufficient to form a belief about the truth of such allegations, so same are

                                                                               6 denied.

                                                                               7
                                                                                          6.     Loan Prairie denies the allegations in Paragraph 6 of the Complaint. To the extent the
                                                                               8
                                                                                   allegations in Paragraph 6 of the Complaint are directed to other defendants, Loan Prairie denies
                                                                               9

                                                                              10 knowledge or information sufficient to form a belief about the truth of such allegations. To the

                                                                              11 extent the allegations in Paragraph 6 of the Complaint relate to Plaintiff’s purported motivation in
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                                                                              12 bringing this lawsuit, Loan Prairie denies knowledge or information sufficient to form a belief.

                                                                              13
                                                                                   Defendant refers all questions of law to this Honorable Court.
                                                                              14

                                                                              15
                                                                                          7.     Loan Prairie denies the allegations in Paragraph 7 of the Complaint and refers all

                                                                              16 questions of law to this Honorable Court.

                                                                              17          8.     Loan Prairie states that the allegations in Paragraph 8 of the Complaint are not
                                                                              18
                                                                                   directed to any defendant, and as such, no response is required. To the extent that a response is
                                                                              19
                                                                                   required, it denies knowledge or information sufficient to form a belief about the truth of the
                                                                              20

                                                                              21 allegations in Paragraph 8 of the Complaint.

                                                                              22          9.     Loan Prairie denies the allegations in Paragraph 9 of the Complaint. To the extent the
                                                                              23
                                                                                   allegations in Paragraph 9 of the Complaint are directed to other defendants, Loan Prairie denies
                                                                              24
                                                                                   knowledge or information sufficient to form a belief about the truth of such allegations, so same are
                                                                              25

                                                                              26 denied.
                                                                              27          10.    Loan Prairie denies the allegations in Paragraph 10 of the Complaint. To the extent
                                                                              28
                                                                                                                                    3
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                                                                               1 the allegations in Paragraph 10 of the Complaint are directed to other defendants, Loan Prairie

                                                                               2
                                                                                   denies knowledge or information sufficient to form a belief about the truth of such allegations, so
                                                                               3
                                                                                   same are denied. To the extent the allegations in Paragraph 10 relate to information outside the
                                                                               4

                                                                               5 knowledge of any defendant, Loan Prairie denies knowledge or information sufficient to form a

                                                                               6 belief.

                                                                               7
                                                                                           11.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50) and the choice of law
                                                                               8
                                                                                   analysis contained therein, Mexican law does not apply. Notwithstanding, Loan Prairie denies the
                                                                               9

                                                                              10 allegations in Paragraph 11 of the Complaint to the extent they relate to purported violations of

                                                                              11 U.S. federal and state statutes, and refers all questions of law to this Honorable Court. To the extent
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                                                                              12 the allegations in Paragraph 11 of the Complaint are directed to other defendants, Loan Prairie

                                                                              13
                                                                                   denies knowledge or information sufficient to form a belief about the truth of such allegations, so
                                                                              14

                                                                              15
                                                                                   same are denied.

                                                                              16           12.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              17 claims (Counts Nine through Thirteen of the Complaint) and Arizona Consumer Fraud Act claim

                                                                              18
                                                                                   (Count Seven of the Complaint) were dismissed, and as such, no response to such allegations or
                                                                              19
                                                                                   claims is required. Notwithstanding, Loan Prairie denies the factual allegations in Paragraph 12 of
                                                                              20

                                                                              21 the Complaint, and refers all questions of law to this Honorable Court. To the extent the allegations

                                                                              22 in Paragraph 12 of the Complaint are directed to other defendants, Loan Prairie denies knowledge

                                                                              23
                                                                                   or information sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              24
                                                                                           13.    Paragraph 13 of the Complaint solely outlines a request for relief, to which a
                                                                              25

                                                                              26 response is not required.      To the extent that a response is required, Loan Prairie denies the
                                                                              27 allegations in Paragraph 13 of the Complaint, notes that the U.S. Government already monitors

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                                                                               1 defendants’ firearms sales practices through the Department of Justice’s Bureau of Alcohol,

                                                                               2
                                                                                   Tobacco, Firearms and Explosives (“ATF”), and refers all questions of law to this Honorable
                                                                               3
                                                                                   Court.
                                                                               4

                                                                               5                                             II.    PARTIES

                                                                               6            14.   Loan Prairie admits that Plaintiff is a sovereign nation that shares a border with the
                                                                               7
                                                                                   United States. The remaining allegations in Paragraph 14 of the Complaint call for legal
                                                                               8
                                                                                   conclusions to which no response is required. To the extent that a response is required, Loan Prairie
                                                                               9

                                                                              10 denies the allegations in Paragraph 14 of the Complaint, and refers all questions of law to this

                                                                              11 Honorable Court.
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                                                                              12            15.   Loan Prairie states that the allegations in Paragraph 15 of the Complaint are directed
                                                                              13
                                                                                   to another defendant. To the extent that a response is required, it denies knowledge or information
                                                                              14

                                                                              15
                                                                                   sufficient to form a belief about the truth of the allegations in Paragraph 15 of the Complaint, and

                                                                              16 refers all questions of law to this Honorable Court.

                                                                              17            16.   Loan Prairie states that the allegations in Paragraph 16 of the Complaint are directed
                                                                              18
                                                                                   to another defendant. To the extent that a response is required, it denies knowledge or information
                                                                              19
                                                                                   sufficient to form a belief about the truth of the allegations in Paragraph 16 of the Complaint, and
                                                                              20

                                                                              21 refers all questions of law to this Honorable Court.

                                                                              22            17.   Loan Prairie denies the allegations in Paragraph 17 of the Complaint, except admits
                                                                              23
                                                                                   that it is a corporation organized and existing under the laws of the State of Arizona.
                                                                              24
                                                                                            18.   Loan Prairie states that the allegations in Paragraph 18 of the Complaint are directed
                                                                              25

                                                                              26 to another defendant. To the extent that a response is required, it denies knowledge or information
                                                                              27 sufficient to form a belief about the truth of the allegations in Paragraph 18 of the Complaint, and

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                                                                               1 refers all questions of law to this Honorable Court.

                                                                               2
                                                                                             19.   Loan Prairie states that the allegations in Paragraph 19 of the Complaint are directed
                                                                               3
                                                                                   to another defendant. To the extent that a response is required, it denies knowledge or information
                                                                               4

                                                                               5 sufficient to form a belief about the truth of the allegations in Paragraph 19 of the Complaint, and

                                                                               6 refers all questions of law to this Honorable Court.

                                                                               7
                                                                                             20.   Loan Prairie denies the allegations in Paragraph 20 of the Complaint. To the extent
                                                                               8
                                                                                   that the allegations in Paragraph 20 of the Complaint are directed to other defendants, Loan Prairie
                                                                               9

                                                                              10 denies knowledge or information sufficient to form a belief about the truth of such allegations, so

                                                                              11 same are denied.
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                                                                              12                                  III.   JURISDICTION AND VENUE
                                                                              13
                                                                                             21.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              14

                                                                              15
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed, and as such, such claims

                                                                              16 do not form the basis for subject matter jurisdiction. Loan Prairie admits that there is complete

                                                                              17 diversity between the Plaintiff and defendants, denies that Plaintiff’s claims for damages have any

                                                                              18
                                                                                   value, and refers all questions of law to this Honorable Court as to whether diversity jurisdiction
                                                                              19
                                                                                   exists.
                                                                              20

                                                                              21             22.   Loan Prairie denies that any “events or omissions” committed by it give rise to any
                                                                              22 claim being brought by Plaintiff, but admits that based on the allegations in the Complaint, venue is

                                                                              23
                                                                                   proper in this District.
                                                                              24
                                                                                                                          IV.    DEFENDANTS
                                                                              25

                                                                              26             23.   Loan Prairie denies the allegations in Paragraph 23 of the Complaint. To the extent
                                                                              27 that the allegations in Paragraph 23 of the Complaint are directed to other defendants, Loan Prairie

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                                                                               1 denies knowledge or information sufficient to form a belief about the truth of such allegations, so

                                                                               2
                                                                                   same are denied.
                                                                               3
                                                                                          24.    Loan Prairie denies the allegations in Paragraph 24 of the Complaint. To the extent
                                                                               4

                                                                               5 that the allegations in Paragraph 24 of the Complaint are directed to other defendants, Loan Prairie

                                                                               6 denies knowledge or information sufficient to form a belief about the truth of such allegations, so

                                                                               7
                                                                                   same are denied.
                                                                               8
                                                                                          25.    Loan Prairie denies the allegations in Paragraph 25 of the Complaint To the extent
                                                                               9

                                                                              10 that the allegations in Paragraph 25 of the Complaint are directed to other defendants, Loan Prairie

                                                                              11 denies knowledge or information sufficient to form a belief about the truth of such allegations, so
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                                                                              12 same are denied.

                                                                              13
                                                                                          26.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              14

                                                                              15
                                                                                   truth of the allegations in Paragraph 26 of the Complaint, so same are denied.

                                                                              16          27.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              17 truth of the allegations in Paragraph 27 of the Complaint, so same are denied.

                                                                              18
                                                                                          28.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              19
                                                                                   truth of the allegations in Paragraph 28 of the Complaint, so same are denied.
                                                                              20

                                                                              21          29.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              22 truth of the allegations in Paragraph 29 of the Complaint, so same are denied.

                                                                              23
                                                                                          30.    The allegations in Paragraph 30 of the Complaint relate to Plaintiff’s intentions
                                                                              24
                                                                                   related to filing this lawsuit and the substance of its legal claims, to which no response is required
                                                                              25

                                                                              26 by this Defendant. To the extent that a response is required, Loan Prairie denies that it knowingly
                                                                              27 and systematically participates in any scheme to traffic firearms into Mexico, and denies

                                                                              28
                                                                                                                                     7
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                                                                               1 knowledge or information to form a belief about the truth of the allegations in Paragraph 30 of the

                                                                               2
                                                                                   Complaint as asserted against other defendants, so same are denied.
                                                                               3
                                                                                          31.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                               4

                                                                               5 truth of the allegations in Paragraph 31 of the Complaint regarding the number of federal firearms

                                                                               6 licensees located in Arizona or the population of Arizona, so same are denied. Loan Prairie denies

                                                                               7
                                                                                   the remaining allegations in Paragraph 31 of the Complaint.
                                                                               8
                                                                                          32.    Loan Prairie denies the allegations in Paragraph 32 of the Complaint. To the extent
                                                                               9

                                                                              10 that the allegations in Paragraph 32 of the Complaint are directed to other defendants, Loan Prairie

                                                                              11 denies knowledge or information sufficient to form a belief about the truth of such allegations, so
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                                                                              12 same are denied.

                                                                              13
                                                                                          33.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              14

                                                                              15
                                                                                   truth of the allegations in Paragraph 33 of the Complaint, so same are denied.

                                                                              16          34.    Loan Prairie denies the allegations in Paragraph 34 of the Complaint regarding the
                                                                              17 cartels seeking out defendants’ stores and denies knowledge or information sufficient to form a

                                                                              18
                                                                                   belief about the truth of the allegations in Paragraph 34 of the Complaint regarding the number of
                                                                              19
                                                                                   gun dealers between Nogales, Arizona and Loan Prairie, so same are denied. To the extent that the
                                                                              20

                                                                              21 allegations in Paragraph 34 of the Complaint are directed to other defendants, Loan Prairie denies

                                                                              22 knowledge or information sufficient to form a belief about the truth of such allegations, so same are

                                                                              23
                                                                                   denied.
                                                                              24
                                                                                          35.    Loan Prairie denies the allegations in Paragraph 35 of the Complaint. To the extent
                                                                              25

                                                                              26 that the allegations in Paragraph 35 of the Complaint are directed to other defendants, Loan Prairie
                                                                              27 denies knowledge or information sufficient to form a belief about the truth of such allegations, so

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                                                                               1 same are denied.

                                                                               2
                                                                                          36.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                               3
                                                                                   truth of the allegations in Paragraph 36 of the Complaint as to what a federal judge said or did not
                                                                               4

                                                                               5 say in an opinion in 2003, but notes that Loan Prairie was not a party to the lawsuit referenced in

                                                                               6 Paragraph 36 of the Complaint and denies that decision has any relevance or effect on the claims in

                                                                               7
                                                                                   this case.
                                                                               8
                                                                                          37.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                               9

                                                                              10 truth of the allegations in Paragraph 37 of the Complaint, but denies that the number of traces

                                                                              11 connected to a particular federal firearms licensee is evidence of any illegal, intentional or
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                                                                              12 negligent conduct by such licensee, as ATF has indicated on numerous occasions. Loan Prairie

                                                                              13
                                                                                   further denies knowledge or information sufficient to form a belief about the truth as to what a
                                                                              14

                                                                              15
                                                                                   federal judge said or did not say in an opinion in 2003, but notes that Loan Prairie was not a party

                                                                              16 to the lawsuit referenced in Paragraph 37 of the Complaint and denies that decision has any

                                                                              17 relevance or effect on the claims in this case.

                                                                              18
                                                                                          38.    Loan Prairie denies the allegations in Paragraph 38 of the Complaint. To the extent
                                                                              19
                                                                                   that the allegations in Paragraph 38 of the Complaint are directed to other defendants, Loan
                                                                              20

                                                                              21 Prairie denies knowledge or information sufficient to form a belief about the truth of such

                                                                              22 allegations, so same are denied.

                                                                              23
                                                                                          39.    Loan Prairie denies the allegations in Paragraph 39 of the Complaint. To the extent
                                                                              24
                                                                                   that the allegations in Paragraph 39 of the Complaint are directed to other defendants, Loan Prairie
                                                                              25

                                                                              26 denies knowledge or information sufficient to form a belief about the truth of such allegations, so
                                                                              27 same are denied.

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                                                                               1          40.    Loan Prairie denies the allegations in Paragraph 40 of the Complaint. To the extent
                                                                               2
                                                                                   that the allegations in Paragraph 40 of the Complaint are directed to other defendants, Loan Prairie
                                                                               3
                                                                                   denies knowledge or information sufficient to form a belief about the truth of such allegations, so
                                                                               4

                                                                               5 same are denied.

                                                                               6          41.    Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                               7
                                                                                   apply to the action herein, and as such, no response to portions of Paragraph 41 of the Complaint is
                                                                               8
                                                                                   required. Loan Prairie denies that it engages in any of the activities alleged in Paragraph 41 of the
                                                                               9

                                                                              10 Complaint, refers all questions of law to this Honorable Court, but admits that a licensed dealer

                                                                              11 who knowingly transfers or sells a firearm to a person it knows is not the “actual transferee/buyer”
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                                                                              12 of the firearm, as that term is defined by the ATF, may be in violation of U.S. law.

                                                                              13
                                                                                          42.    Loan Prairie denies the allegations in Paragraph 42 of the Complaint except admits
                                                                              14

                                                                              15
                                                                                   that pursuant to 18 U.S.C. § 923(g)(3)(A) and 27 C.F.R. § 478.126a, federally licensed dealers are

                                                                              16 required to file a Report of Multiple Sale or Other Disposition of Pistols and Revolvers (ATF Form

                                                                              17 3310.4) when two or more handguns are disposed of to a non-licensee within a five (5) business

                                                                              18
                                                                                   day period, and this Report is sent to ATF and a designated local law enforcement agency.
                                                                              19
                                                                                          43.     Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              20

                                                                              21 truth of the allegations in Paragraph 43 of the Complaint except admits federally licensed dealers

                                                                              22 located in Arizona, California, New Mexico and Texas are required to file a Report of Multiple

                                                                              23
                                                                                   Sale or Other Disposition of Certain Rifles (ATF Form 3310.12) when two or more semiautomatic
                                                                              24
                                                                                   rifles capable of accepting a detachable magazine and with a caliber greater than .22 are disposed
                                                                              25

                                                                              26 of within a five (5) business day period to an unlicensed person.
                                                                              27          44.    Loan Prairie denies the allegations in Paragraph 44 of the Complaint. To the extent
                                                                              28
                                                                                                                                    10
                                                                                        Case 4:22-cv-00472-RM          Document 104       Filed 12/02/24   Page 11 of 69




                                                                               1 that the allegations in Paragraph 44 of the Complaint refer to “buyers,” “traffickers,” and the

                                                                               2
                                                                                   “illegal market in Mexico,” Loan Prairie denies knowledge or information sufficient to form a
                                                                               3
                                                                                   belief about the truth of such allegations, so same are denied.
                                                                               4

                                                                               5          45.    Loan Prairie denies the allegations in Paragraph 45 of the Complaint. To the extent

                                                                               6 that the allegations in Paragraph 45 of the Complaint are directed to other defendants, Loan Prairie

                                                                               7
                                                                                   denies knowledge or information sufficient to form a belief about the truth of such allegations, so
                                                                               8
                                                                                   same are denied.
                                                                               9

                                                                              10          46.    Loan Prairie denies the allegations in Paragraph 46 of the Complaint.

                                                                              11          47.    Loan Prairie denies knowledge or information sufficient to form a belief about the
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                                                                              12 truth of the allegations in Paragraph 47 of the Complaint as to what a federal judge said or did not

                                                                              13
                                                                                   say in an opinion in 2003, but notes that Loan Prairie was not a party to the lawsuit referenced in
                                                                              14

                                                                              15
                                                                                   Paragraph 47 of the Complaint and denies that decision has any relevance or effect on the claims in

                                                                              16 this case.

                                                                              17          48.    Loan Prairie denies the allegations in Paragraph 48 of the Complaint. To the extent
                                                                              18
                                                                                   that the allegations in Paragraph 48 of the Complaint are directed to other defendants, Loan Prairie
                                                                              19
                                                                                   denies knowledge or information sufficient to form a belief about the truth of such allegations, so
                                                                              20

                                                                              21 same are denied.

                                                                              22          49.    Loan Prairie denies the allegations in Paragraph 49 of the Complaint and refers all
                                                                              23
                                                                                   questions of law to this Honorable Court.
                                                                              24
                                                                                          50.    Loan Prairie denies the allegations in Paragraph 50 of the Complaint. To the extent
                                                                              25

                                                                              26 that the allegations in Paragraph 50 of the Complaint are directed to other defendants, Loan Prairie
                                                                              27 denies knowledge or information sufficient to form a belief about the truth of such allegations, so

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                                                                                                                                     11
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                                                                               1 same are denied.

                                                                               2
                                                                                          51.    Loan Prairie denies the allegations in Paragraph 51 of the Complaint.
                                                                               3
                                                                                          52.    Loan Prairie denies the allegations in Paragraph 52 of the Complaint and refers all
                                                                               4

                                                                               5 questions of law to this Honorable Court. To the extent that the allegations in Paragraph 52 of the

                                                                               6 Complaint are directed to other defendants, Loan Prairie denies knowledge or information

                                                                               7
                                                                                   sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                               8
                                                                                          53.    Loan Prairie denies the allegations in Paragraph 53 of the Complaint. To the extent
                                                                               9

                                                                              10 that the allegations in Paragraph 53 of the Complaint are directed to other defendants, Loan Prairie

                                                                              11 denies knowledge or information sufficient to form a belief about the truth of such allegations, so
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                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 same are denied.

                                                                              13
                                                                                                              V.      EXAMPLES OF SPECIFIC SALES
                                                                              14

                                                                              15
                                                                                          54.    Loan Prairie denies the allegations in Paragraph 54 of the Complaint. To the extent

                                                                              16 that the allegations in Paragraph 54 of the Complaint are directed to other defendants, Loan Prairie

                                                                              17 denies knowledge or information sufficient to form a belief about the truth of such allegations, so

                                                                              18
                                                                                   same are denied.
                                                                              19
                                                                                          55.    Loan Prairie denies the allegations in Paragraph 55 of the Complaint. To the extent
                                                                              20

                                                                              21 that the allegations in Paragraph 55 of the Complaint are directed to other defendants, Loan Prairie

                                                                              22 denies knowledge or information sufficient to form a belief about the truth of such allegations, so

                                                                              23
                                                                                   same are denied.
                                                                              24
                                                                                          56.    There are no allegations of fact contained in Paragraph 56 of the Complaint, but
                                                                              25

                                                                              26 Loan Prairie denies any implication or inference of wrongdoing contained in Paragraph 56 of the
                                                                              27 Complaint.

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                                                                               1          57.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                               2
                                                                                   truth of the allegations in Paragraph 57 of the Complaint, as they are not directed to Loan Prairie,
                                                                               3
                                                                                   so same are denied.
                                                                               4

                                                                               5          58.    Loan Prairie denies knowledge or information sufficient to form a belief about the

                                                                               6 truth of the allegations in Paragraph 58 of the Complaint, as they are not directed to Loan Prairie,

                                                                               7
                                                                                   so same are denied.
                                                                               8
                                                                                          59.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                               9

                                                                              10 truth of the allegations in Paragraph 59 of the Complaint, as they are not directed to Loan Prairie,

                                                                              11 so same are denied.
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                                                                              12          60.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              13
                                                                                   truth of the allegations in Paragraph 60 of the Complaint, as they are not directed to Loan Prairie,
                                                                              14

                                                                              15
                                                                                   so same are denied.

                                                                              16          61.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              17 truth of the allegations in Paragraph 61 of the Complaint, as they are not directed to Loan Prairie,

                                                                              18
                                                                                   so same are denied.
                                                                              19
                                                                                          62.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              20

                                                                              21 truth of the allegations in Paragraph 62 of the Complaint, as they are not directed to Loan Prairie,

                                                                              22 so same are denied.

                                                                              23
                                                                                          63.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              24
                                                                                   truth of the allegations in Paragraph 63 of the Complaint, as they are not directed to Loan Prairie,
                                                                              25

                                                                              26 so same are denied.
                                                                              27          64.    Loan Prairie denies knowledge or information sufficient to form a belief about the
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                                                                               1 truth of the allegations in Paragraph 64 of the Complaint, as they are not directed to Loan Prairie,

                                                                               2
                                                                                   so same are denied.
                                                                               3
                                                                                          65.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                               4

                                                                               5 truth of the allegations in Paragraph 65 of the Complaint, as they are not directed to Loan Prairie,

                                                                               6 so same are denied.

                                                                               7
                                                                                          66.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                               8
                                                                                   truth of the allegations in Paragraph 66 of the Complaint, as they are not directed to Loan Prairie,
                                                                               9

                                                                              10 so same are denied.

                                                                              11          67.    Loan Prairie denies knowledge or information sufficient to form a belief about the
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                                                                              12 truth of the allegations in Paragraph 67 of the Complaint, as they are not directed to Loan Prairie,

                                                                              13
                                                                                   so same are denied.
                                                                              14

                                                                              15
                                                                                          68.    Loan Prairie denies knowledge or information sufficient to form a belief about the

                                                                              16 truth of the allegations in Paragraph 68 of the Complaint, as they are not directed to Loan Prairie,

                                                                              17 so same are denied.

                                                                              18
                                                                                          69.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              19
                                                                                   truth of the allegations in Paragraph 69 of the Complaint, as they are not directed to Loan Prairie,
                                                                              20

                                                                              21 so same are denied.

                                                                              22          70.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              23
                                                                                   truth of the allegations in Paragraph 70 of the Complaint, as they are not directed to Loan Prairie,
                                                                              24
                                                                                   so same are denied.
                                                                              25

                                                                              26          71.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              27 truth of the allegations in Paragraph 71 of the Complaint, as they are not directed to Loan Prairie,

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                                                                               1 so same are denied.

                                                                               2
                                                                                          72.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                               3
                                                                                   truth of the allegations in Paragraph 72 of the Complaint, as they are not directed to Loan Prairie,
                                                                               4

                                                                               5 so same are denied.

                                                                               6          73.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                               7
                                                                                   truth of the allegations in Paragraph 73 of the Complaint, as they are not directed to Loan Prairie,
                                                                               8
                                                                                   so same are denied.
                                                                               9

                                                                              10          74.    Loan Prairie denies knowledge or information sufficient to form a belief about the

                                                                              11 truth of the allegations in Paragraph 74 of the Complaint, as they are not directed to Loan Prairie,
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                                                                              12 so same are denied.

                                                                              13
                                                                                          75.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              14

                                                                              15
                                                                                   truth of the allegations in Paragraph 75 of the Complaint, as they are not directed to Loan Prairie,

                                                                              16 so same are denied.

                                                                              17          76.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              18
                                                                                   truth of the allegations in Paragraph 76 of the Complaint, as they are not directed to Loan Prairie,
                                                                              19
                                                                                   so same are denied.
                                                                              20

                                                                              21          77.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              22 truth of the allegations in Paragraph 77 of the Complaint, as they are not directed to Loan Prairie,

                                                                              23
                                                                                   so same are denied.
                                                                              24
                                                                                          78.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              25

                                                                              26 truth of the allegations in Paragraph 78 of the Complaint, as they are not directed to Loan Prairie,
                                                                              27 so same are denied.

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                                                                               1          79.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                               2
                                                                                   truth of the allegations in Paragraph 79 of the Complaint, as they are not directed to Loan Prairie,
                                                                               3
                                                                                   so same are denied.
                                                                               4

                                                                               5          80.    Loan Prairie denies knowledge or information sufficient to form a belief about the

                                                                               6 truth of the allegations in Paragraph 80 of the Complaint, as they are not directed to Loan Prairie,

                                                                               7
                                                                                   so same are denied.
                                                                               8
                                                                                          81.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                               9

                                                                              10 truth of the allegations in Paragraph 81 of the Complaint, as they are not directed to Loan Prairie,

                                                                              11 so same are denied.
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                                                                              12          82.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              13
                                                                                   truth of the allegations in Paragraph 82 of the Complaint, as they are not directed to Loan Prairie,
                                                                              14

                                                                              15
                                                                                   so same are denied.

                                                                              16          83.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              17 truth of the allegations in Paragraph 83 of the Complaint, as they are not directed to Loan Prairie,

                                                                              18
                                                                                   so same are denied.
                                                                              19
                                                                                          84.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              20

                                                                              21 truth of the allegations in Paragraph 84 of the Complaint, as they are not directed to Loan Prairie,

                                                                              22 so same are denied.

                                                                              23
                                                                                          85.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              24
                                                                                   truth of the allegations in Paragraph 85 of the Complaint, as they are not directed to Loan Prairie,
                                                                              25

                                                                              26 so same are denied.
                                                                              27          86.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              28
                                                                                                                                   16
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                                                                               1 truth of the allegations in Paragraph 86 of the Complaint, as they are not directed to Loan Prairie,

                                                                               2
                                                                                   so same are denied.
                                                                               3
                                                                                          87.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                               4

                                                                               5 truth of the allegations in Paragraph 87 of the Complaint, as they are not directed to Loan Prairie,

                                                                               6 so same are denied.

                                                                               7
                                                                                          88.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                               8
                                                                                   truth of the allegations in Paragraph 88 of the Complaint, as they are not directed to Loan Prairie,
                                                                               9

                                                                              10 so same are denied.

                                                                              11          89.    Loan Prairie denies knowledge or information sufficient to form a belief about the
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                                                                              12 truth of the allegations in Paragraph 89 of the Complaint, as they are not directed to Loan Prairie,

                                                                              13
                                                                                   so same are denied.
                                                                              14

                                                                              15
                                                                                          90.    Loan Prairie denies knowledge or information sufficient to form a belief about the

                                                                              16 truth of the allegations in Paragraph 90 of the Complaint, as they are not directed to Loan Prairie,

                                                                              17 so same are denied.

                                                                              18
                                                                                          91.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              19
                                                                                   truth of the allegations in Paragraph 91 of the Complaint, as they are not directed to Loan Prairie,
                                                                              20

                                                                              21 so same are denied.

                                                                              22          92.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              23
                                                                                   truth of the allegations in Paragraph 92 of the Complaint, as they are not directed to Loan Prairie,
                                                                              24
                                                                                   so same are denied.
                                                                              25

                                                                              26          93.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              27 truth of the allegations in Paragraph 93 of the Complaint, as they are not directed to Loan Prairie,

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                                                                               1 so same are denied.

                                                                               2
                                                                                          94.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                               3
                                                                                   truth of the allegations in Paragraph 94 of the Complaint, as they are not directed to Loan Prairie,
                                                                               4

                                                                               5 so same are denied.

                                                                               6          95.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                               7
                                                                                   truth of the allegations in Paragraph 95 of the Complaint, as they are not directed to Loan Prairie,
                                                                               8
                                                                                   so same are denied.
                                                                               9

                                                                              10          96.    Loan Prairie denies knowledge or information sufficient to form a belief about the

                                                                              11 truth of the allegations in Paragraph 96 of the Complaint, as they are not directed to Loan Prairie,
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                                                                              12 so same are denied.

                                                                              13
                                                                                          97.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              14

                                                                              15
                                                                                   truth of the allegations in Paragraph 97 of the Complaint, as they are not directed to Loan Prairie,

                                                                              16 so same are denied.

                                                                              17          98.    Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              18
                                                                                   truth of the allegations in Paragraph 98 of the Complaint, as they are not directed to Loan Prairie,
                                                                              19
                                                                                   so same are denied.
                                                                              20

                                                                              21          99.    Loan Prairie denies the allegations in Paragraph 99 of the Complaint and refers all
                                                                              22 questions of law to this Honorable Court.

                                                                              23
                                                                                          100.   Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              24
                                                                                   truth of the allegations in Paragraph 100 of the Complaint, as they are not directed to Loan Prairie,
                                                                              25

                                                                              26 so same are denied.
                                                                              27          101.   Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              28
                                                                                                                                    18
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                                                                               1 truth of the allegations in Paragraph 101 of the Complaint, as they are not directed to Loan Prairie,

                                                                               2
                                                                                   so same are denied.
                                                                               3
                                                                                          102.   Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                               4

                                                                               5 truth of the allegations in Paragraph 102 of the Complaint, as they are not directed to Loan Prairie,

                                                                               6 so same are denied.

                                                                               7
                                                                                          103.   Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                               8
                                                                                   truth of the allegations in Paragraph 103 of the Complaint, as they are not directed to Loan Prairie,
                                                                               9

                                                                              10 so same are denied.

                                                                              11          104.   Loan Prairie denies knowledge or information sufficient to form a belief about the
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                                                                              12 truth of the allegations in Paragraph 104 of the Complaint, as they are not directed to Loan Prairie,

                                                                              13
                                                                                   so same are denied.
                                                                              14

                                                                              15
                                                                                          105.   Loan Prairie denies the allegations in Paragraph 105 of the Complaint and refers all

                                                                              16 questions of law to this Honorable Court.

                                                                              17          106.   Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              18
                                                                                   truth of the allegations in Paragraph 106 of the Complaint, as they are not directed to Loan Prairie,
                                                                              19
                                                                                   so same are denied.
                                                                              20

                                                                              21          107.   Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              22 truth of the allegations in Paragraph 107 of the Complaint, as they are not directed to Loan Prairie,

                                                                              23
                                                                                   so same are denied.
                                                                              24
                                                                                          108.   Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              25

                                                                              26 truth of the allegations in Paragraph 108 of the Complaint, as they are not directed to Loan Prairie,
                                                                              27 so same are denied.

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                                                                               1          109.   Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                               2
                                                                                   truth of the allegations in Paragraph 109 of the Complaint, as they are not directed to Loan Prairie,
                                                                               3
                                                                                   so same are denied.
                                                                               4

                                                                               5          110.   Loan Prairie denies the allegations in Paragraph 110 of the Complaint and refers all

                                                                               6 questions of law to this Honorable Court.

                                                                               7
                                                                                          111.   Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                               8
                                                                                   truth of the allegations in Paragraph 111 of the Complaint, as they are not directed to Loan Prairie,
                                                                               9

                                                                              10 so same are denied.

                                                                              11          112.   Loan Prairie denies knowledge or information sufficient to form a belief about the
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                                                                              12 truth of the allegations in Paragraph 112 of the Complaint, as they are not directed to Loan Prairie,

                                                                              13
                                                                                   so same are denied.
                                                                              14

                                                                              15
                                                                                          113.   Loan Prairie denies knowledge or information sufficient to form a belief about the

                                                                              16 truth of the allegations in Paragraph 113 of the Complaint, as they are not directed to Loan Prairie,

                                                                              17 so same are denied.

                                                                              18
                                                                                          114.   Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              19
                                                                                   truth of the allegations in Paragraph 114 of the Complaint, as they are not directed to Loan Prairie,
                                                                              20

                                                                              21 so same are denied.

                                                                              22          115.   Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              23
                                                                                   truth of the allegations in Paragraph 115 of the Complaint, as they are not directed to Loan Prairie,
                                                                              24
                                                                                   so same are denied.
                                                                              25

                                                                              26          116.   Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              27 truth of the allegations in Paragraph 116 of the Complaint, as they are not directed to Loan Prairie,

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                                                                               1 so same are denied.

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                                                                                          117.   Loan Prairie denies the allegations in Paragraph 117 of the Complaint and refers all
                                                                               3
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 117 of the
                                                                               4

                                                                               5 Complaint are directed to other defendants, Loan Prairie denies knowledge or information

                                                                               6 sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                               7
                                                                                                                              VI.    DATA
                                                                               8
                                                                                          118.   Loan Prairie denies the allegations in Paragraph 118 of the Complaint. To the extent
                                                                               9

                                                                              10 that the allegations in Paragraph 118 of the Complaint are directed to other defendants, Loan

                                                                              11 Prairie denies knowledge or information sufficient to form a belief about the truth of such
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                                                                              12 allegations, so same are denied.

                                                                              13
                                                                                          119.   Loan Prairie denies the allegations in Paragraph 119 of the Complaint. To the extent
                                                                              14

                                                                              15
                                                                                   that the allegations in Paragraph 119 of the Complaint are directed to other defendants, Loan

                                                                              16 Prairie denies knowledge or information sufficient to form a belief about the truth of such

                                                                              17 allegations, so same are denied.

                                                                              18
                                                                                          120.   Loan Prairie denies the allegations in Paragraph 120 of the Complaint. To the extent
                                                                              19
                                                                                   that the allegations in Paragraph 120 of the Complaint are directed to other defendants, Loan
                                                                              20

                                                                              21 Prairie denies knowledge or information sufficient to form a belief about the truth of such

                                                                              22 allegations, so same are denied.

                                                                              23
                                                                                          121.   Loan Prairie denies the allegations in Paragraph 121 of the Complaint and refers all
                                                                              24
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 121 of the
                                                                              25

                                                                              26 Complaint are directed to other defendants, Loan Prairie denies knowledge or information
                                                                              27 sufficient to form a belief about the truth of such allegations.

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                                                                               1          122.   Loan Prairie denies the allegations in Paragraph 122 of the Complaint. To the extent
                                                                               2
                                                                                   that the allegations in Paragraph 122 of the Complaint are directed to other defendants, Loan
                                                                               3
                                                                                   Prairie denies knowledge or information sufficient to form a belief about the truth of such
                                                                               4

                                                                               5 allegations, so same are denied.

                                                                               6          123.   Loan Prairie denies the allegations in Paragraph 123 of the Complaint. To the extent
                                                                               7
                                                                                   that the allegations in Paragraph 123 of the Complaint are directed to other defendants and non-
                                                                               8
                                                                                   parties, Loan Prairie denies knowledge or information sufficient to form a belief about the truth of
                                                                               9

                                                                              10 such allegations, so same are denied.

                                                                              11          124.   Loan Prairie denies the allegations in Paragraph 124 of the Complaint.
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                                                                              12                               VII.    DEFENDANTS’ LEGAL DUTIES
                                                                              13
                                                                                          125.   Loan Prairie denies the allegations in Paragraph 125 of the Complaint and refers all
                                                                              14

                                                                              15
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 125 of the

                                                                              16 Complaint are directed to other defendants, Loan Prairie denies knowledge or information

                                                                              17 sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              18
                                                                                          126.   Loan Prairie denies the allegations in Paragraph 126 of the Complaint and refers all
                                                                              19
                                                                                   questions of law to this Honorable Court.
                                                                              20

                                                                              21          127.   Loan Prairie denies the allegations in Paragraph 127 of the Complaint and refers all
                                                                              22 questions of law to his Honorable Court. To the extent that the allegations in Paragraph 127 of the

                                                                              23
                                                                                   Complaint are directed to other defendants, Loan Prairie denies knowledge or information
                                                                              24
                                                                                   sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              25

                                                                              26          128.   Loan Prairie denies the allegations in Paragraph 128 of the Complaint. To the extent
                                                                              27 that the allegations in Paragraph 128 of the Complaint are directed to other defendants, Loan

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                                                                               1 Prairie denies knowledge or information to form a belief about the truth of such allegations, so

                                                                               2
                                                                                   same are denied.
                                                                               3
                                                                                          129.   Loan Prairie denies the allegations in Paragraph 129 of the Complaint and refers all
                                                                               4

                                                                               5 questions of law to this Honorable Court.

                                                                               6          130.   Loan Prairie denies the allegations in Paragraph 130 of the Complaint and refers all
                                                                               7
                                                                                   questions of law to this Honorable Court.
                                                                               8
                                                                                          131.   Loan Prairie denies the allegations in Paragraph 131 of the Complaint and refers all
                                                                               9

                                                                              10 questions of law to this Honorable Court. To the extent that the allegations in Paragraph 131 of the

                                                                              11 Complaint are directed to other defendants, Loan Prairie denies knowledge or information to form
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                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 a belief about the truth of such allegations, so same are denied.

                                                                              13
                                                                                          132.   The Paragraph designated as “132” of the Complaint includes solely legal
                                                                              14

                                                                              15
                                                                                   conclusions, and as such, no response is necessary. However, in the event the Court determines

                                                                              16 that an answer is required, Loan Prairie states that the referenced statutes and regulation speak for

                                                                              17 themselves, and refers all questions of law to this Honorable Court.

                                                                              18
                                                                                          133.   The Paragraph designated as “133” of the Complaint includes solely legal
                                                                              19
                                                                                   conclusions, and as such, no response is necessary. However, in the event the Court determines
                                                                              20

                                                                              21 that an answer is required, Loan Prairie states that the referenced statutes speak for themselves, and

                                                                              22 refers all questions of law to this Honorable Court.

                                                                              23
                                                                                          134.   The Paragraph designated as “134” of the Complaint includes solely legal
                                                                              24
                                                                                   conclusions, and as such, no response is necessary. However, in the event the Court determines
                                                                              25

                                                                              26 that an answer is required, Loan Prairie states that the referenced statute speaks for itself, Loan
                                                                              27 Prairie lacks knowledge or information sufficient to form a belief as to why such laws were

                                                                              28
                                                                                                                                   23
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                                                                               1 enacted, and refers all questions of law to this Honorable Court.

                                                                               2
                                                                                          135.   Portions of the Paragraph designated as “135” of the Complaint include solely legal
                                                                               3
                                                                                   conclusions, and as such, no response to same is necessary. Loan Prairie states that the referenced
                                                                               4

                                                                               5 statutes and regulations speak for themselves, Loan Prairie lacks knowledge or information

                                                                               6 sufficient to form a belief as to why such laws were enacted, and refers all questions of law to this

                                                                               7
                                                                                   Honorable Court. However, Loan Prairie admits that the “Bureau of Alcohol, Tobacco, Firearms
                                                                               8
                                                                                   and Explosives has partnered with the National Shooting Sports Foundation . . . in designing an
                                                                               9

                                                                              10 educational program to assist firearm retailers in the detection and possible deterrence of ‘straw

                                                                              11 purchasers’ . . .”
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                                                                              12          136.   Loan Prairie denies that the National Shooting Sports Foundation sets “standards”
                                                                              13
                                                                                   through its “Don’t Lie for the Other Guy” campaign. Loan Prairie further states that the literature
                                                                              14

                                                                              15
                                                                                   associated with that educational campaign speaks for itself, and denies any remaining allegations in

                                                                              16 Paragraph 136 of the Complaint.

                                                                              17          137.   Loan Prairie denies the allegations in Paragraph 137 of the Complaint, except admits
                                                                              18
                                                                                   that in most circumstances, before transferring a firearm to any person who is not a licensed dealer,
                                                                              19
                                                                                   among other requirements, a licensed dealer may have to conduct a background check, examine the
                                                                              20

                                                                              21 prospective buyer/transferee’s identification, and record the transaction on a firearm transaction

                                                                              22 record, also known as an ATF Form 4473.

                                                                              23
                                                                                          138.   Loan Prairie denies the allegations in Paragraph 138 of the Complaint, except admits
                                                                              24
                                                                                   that in most circumstances, before transferring a firearm to any person who is not a licensed dealer,
                                                                              25

                                                                              26 among other requirements, a buyer must fill out an ATF Form 4473, which currently contains
                                                                              27 question 21(a), which states the following: “Are you the actual transferee/buyer of all of the

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                                                                               1 firearm(s) listed on this form and any continuation sheet(s) (ATF Form 5300.9A)? Warning: You

                                                                               2
                                                                                   are not the actual transferee/buyer if you are acquiring any of the firearm(s) on behalf of
                                                                               3
                                                                                   another person. If you are not the actual transferee/buyer, the licensee cannot transfer any
                                                                               4

                                                                               5 of the firearm(s) to you. Exception: If you are only picking up a repaired firearm(s) for another

                                                                               6 person, you are not required to answer 21.a. and may proceed to question 21.b.”

                                                                               7
                                                                                          139.   The Paragraph designated as “139” of the Complaint includes solely legal
                                                                               8
                                                                                   conclusions, and as such, no response is necessary. However, in the event the Court determines
                                                                               9

                                                                              10 that an answer is required, Loan Prairie states that the referenced statutes and regulations speak for

                                                                              11 themselves, Loan Prairie lacks knowledge or information sufficient to form a belief as to why such
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                                                                              12 laws were enacted, and refers all questions of law to this Honorable Court.

                                                                              13
                                                                                          140.   The Paragraph designated as “140” of the Complaint includes solely legal
                                                                              14

                                                                              15
                                                                                   conclusions, and as such, no response is necessary. However, in the event the Court determines

                                                                              16 that an answer is required, Loan Prairie states that the referenced statutes and regulations speak for

                                                                              17 themselves, and refers all questions of law to this Honorable Court.

                                                                              18
                                                                                          141.   Loan Prairie states that the ATF Form 4473 speaks for itself, denies any remaining
                                                                              19
                                                                                   allegations in Paragraph 141 of the Complaint, and refers all questions of law to his Honorable
                                                                              20

                                                                              21 Court.

                                                                              22          142.   The Paragraph designated as “142” of the Complaint includes solely legal
                                                                              23
                                                                                   conclusions, and as such, no response is necessary. However, in the event the Court determines
                                                                              24
                                                                                   that an answer is required, Loan Prairie states that the referenced statutes and regulations speak for
                                                                              25

                                                                              26 themselves, and refers all questions of law to this Honorable Court.
                                                                              27          143.   The Paragraph designated as “143” of the Complaint includes solely legal
                                                                              28
                                                                                                                                    25
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                                                                               1 conclusions, and as such, no response is necessary. However, in the event the Court determines

                                                                               2
                                                                                   that an answer is required, Loan Prairie states that the referenced statutes speak for themselves, and
                                                                               3
                                                                                   refers all questions of law to this Honorable Court.
                                                                               4

                                                                               5          144.   The Paragraph designated as “144” of the Complaint includes solely legal

                                                                               6 conclusions, and as such, no response is necessary. However, in the event the Court determines

                                                                               7
                                                                                   that an answer is required, Loan Prairie states that the referenced statutes and regulations speak for
                                                                               8
                                                                                   themselves, and refers all questions of law to this Honorable Court.
                                                                               9

                                                                              10          145.   The Paragraph designated as “145” of the Complaint includes solely legal

                                                                              11 conclusions, and as such, no response is necessary. However, in the event the Court determines
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                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 that an answer is required, Loan Prairie states that the referenced statutes and regulations speak for

                                                                              13
                                                                                   themselves, and refers all questions of law to this Honorable Court.
                                                                              14

                                                                              15
                                                                                          146.   Loan Prairie denies the allegations in Paragraph 146 of the Complaint and refers all

                                                                              16 questions of law to this Honorable Court. To the extent that the allegations in Paragraph 146 of the

                                                                              17 Complaint are directed to other defendants, Loan Prairie denies knowledge or information

                                                                              18
                                                                                   sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              19
                                                                                          147.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                              20

                                                                              21 apply to the action herein. To the extent that a response is required, Loan Prairie denies knowledge

                                                                              22 or information sufficient to form a belief about the truth of the allegations in Paragraph 147 of the

                                                                              23
                                                                                   Complaint.
                                                                              24
                                                                                          148.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                              25

                                                                              26 apply to the action herein. To the extent that a response is required, Loan Prairie denies knowledge
                                                                              27 or information sufficient to form a belief about the truth of the allegations in Paragraph 148 of the

                                                                              28
                                                                                                                                     26
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                                                                               1 Complaint.

                                                                               2
                                                                                          149.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                               3
                                                                                   apply to the action herein. To the extent that a response is required, Loan Prairie denies knowledge
                                                                               4

                                                                               5 or information sufficient to form a belief about the truth of the allegations in Paragraph 149 of the

                                                                               6 Complaint.

                                                                               7
                                                                                          150.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                               8
                                                                                   apply to the action herein. To the extent that a response is required, Loan Prairie denies knowledge
                                                                               9

                                                                              10 or information sufficient to form a belief about the truth of the allegations in Paragraph 150 of the

                                                                              11 Complaint, and refers all questions of law to this Honorable Court.
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                                                                              12          151.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                              13
                                                                                   apply to the action herein. To the extent that a response is required, Loan Prairie denies knowledge
                                                                              14

                                                                              15
                                                                                   or information sufficient to form a belief about the truth of the allegations in Paragraph 151 of the

                                                                              16 Complaint.

                                                                              17          152.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                              18
                                                                                   apply to the action herein. To the extent that a response is required, Loan Prairie denies knowledge
                                                                              19
                                                                                   or information sufficient to form a belief about the truth of the allegations in Paragraph 152 of the
                                                                              20

                                                                              21 Complaint.

                                                                              22          153.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                              23
                                                                                   apply to the action herein. To the extent that a response is required, Loan Prairie denies knowledge
                                                                              24
                                                                                   or information sufficient to form a belief about the truth of the allegations in Paragraph 153 of the
                                                                              25

                                                                              26 Complaint.
                                                                              27          154.   The Paragraph designated as “154” of the Complaint includes solely legal
                                                                              28
                                                                                                                                    27
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                                                                               1 conclusions, and as such, no response is necessary. However, in the event the Court determines

                                                                               2
                                                                                   that an answer is required, Loan Prairie states that the referenced statutes and regulations speak for
                                                                               3
                                                                                   themselves, and refers all questions of law to this Honorable Court.
                                                                               4

                                                                               5          155.   The Paragraph designated as “155” of the Complaint includes solely legal

                                                                               6 conclusions, and as such, no response is necessary. However, in the event the Court determines

                                                                               7
                                                                                   that an answer is required, Loan Prairie states that the referenced statutes and regulations speak for
                                                                               8
                                                                                   themselves, and refers all questions of law to this Honorable Court.
                                                                               9

                                                                              10          156.   The Paragraph designated as “156” of the Complaint includes solely legal

                                                                              11 conclusions, and as such, no response is necessary. However, in the event the Court determines
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                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 that an answer is required, Loan Prairie states that the referenced statutes and regulations speak for

                                                                              13
                                                                                   themselves, and refers all questions of law to this Honorable Court.
                                                                              14

                                                                              15
                                                                                          157.   The Paragraph designated as “157” of the Complaint includes solely legal

                                                                              16 conclusions, and as such, no response is necessary. However, in the event the Court determines

                                                                              17 that an answer is required, Loan Prairie states that the referenced statutes and regulations speak for

                                                                              18
                                                                                   themselves, and refers all questions of law to this Honorable Court.
                                                                              19
                                                                                          158.   The Paragraph designated as “158” of the Complaint includes solely legal
                                                                              20

                                                                              21 conclusions, and as such, no response is necessary. However, in the event the Court determines

                                                                              22 that an answer is required, Loan Prairie states that the referenced statutes and regulations speak for

                                                                              23
                                                                                   themselves, and refers all questions of law to this Honorable Court.
                                                                              24
                                                                                          159.   The Paragraph designated as “159” of the Complaint includes solely legal
                                                                              25

                                                                              26 conclusions, and as such, no response is necessary. However, in the event the Court determines
                                                                              27 that an answer is required, Loan Prairie states that the referenced statutes and regulations speak for

                                                                              28
                                                                                                                                    28
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                                                                               1 themselves, and refers all questions of law to this Honorable Court.

                                                                               2
                                                                                          160.   The Paragraph designated as “160” of the Complaint includes legal conclusions, and
                                                                               3
                                                                                   as such, no response is necessary. However, in the event the Court determines that an answer is
                                                                               4

                                                                               5 required, Loan Prairie states that the referenced statutes and regulations speak for themselves,

                                                                               6 refers all questions of law to this Honorable Court, and admits that murder, drug dealing, extortion,

                                                                               7
                                                                                   and other criminal acts committed by Cartels in Mexico would constitute a felony if such acts
                                                                               8
                                                                                   occurred in the United States.
                                                                               9

                                                                              10          161.   Loan Prairie denies the allegations in Paragraph 161 of the Complaint and refers all

                                                                              11 questions of law to this Honorable Court. To the extent that the allegations in Paragraph 161 of the
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                                                                              12 Complaint are directed to other defendants, Loan Prairie denies knowledge or information

                                                                              13
                                                                                   sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              14

                                                                              15
                                                                                          162.   Loan Prairie denies the allegations in Paragraph 162 of the Complaint and refers all

                                                                              16 questions of law to this Honorable Court.

                                                                              17          163.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                              18
                                                                                   apply to the action herein. To the extent that a response is required, Loan Prairie denies the
                                                                              19
                                                                                   allegations in Paragraph 163 of the Complaint and refers all questions of law to this Honorable
                                                                              20

                                                                              21 Court.

                                                                              22          164.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                              23
                                                                                   apply to the action herein. To the extent that a response is required, Loan Prairie denies the
                                                                              24
                                                                                   allegations in Paragraph 164 of the Complaint and refers all questions of law to this Honorable
                                                                              25

                                                                              26 Court.
                                                                              27          165.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                              28
                                                                                                                                     29
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                                                                               1 apply to the action herein. To the extent that a response is required, Loan Prairie denies the

                                                                               2
                                                                                   allegations in Paragraph 165 of the Complaint and refers all questions of law to this Honorable
                                                                               3
                                                                                   Court.
                                                                               4

                                                                               5            166.   Loan Prairie denies the allegations in Paragraph 166 of the Complaint and refers all

                                                                               6 questions of law to this Honorable Court.

                                                                               7
                                                                                            167.   Loan Prairie denies the allegations in Paragraph 167 of the Complaint and refers all
                                                                               8
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 167 of the
                                                                               9

                                                                              10 Complaint are directed to other defendants, Loan Prairie denies knowledge or information

                                                                              11 sufficient to form a belief about the truth of such allegations, so same are denied.
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                                                                              12            168.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                              13
                                                                                   apply to the action herein. Notwithstanding, Loan Prairie denies the allegations in Paragraph 168 of
                                                                              14

                                                                              15
                                                                                   the Complaint and refers all questions of law to this Honorable Court.

                                                                              16            169.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                              17 apply to the action herein. Notwithstanding, Loan Prairie denies the allegations in Paragraph 169 of

                                                                              18
                                                                                   the Complaint and refers all questions of law to this Honorable Court. To the extent that the
                                                                              19
                                                                                   allegations in Paragraph 169 of the Complaint are directed to other defendants, Loan Prairie denies
                                                                              20

                                                                              21 knowledge or information sufficient to form a belief about the truth of such allegations, so same are

                                                                              22 denied.

                                                                              23
                                                                                            170.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                              24
                                                                                   apply to the action herein. Notwithstanding, Loan Prairie denies the allegations in Paragraph 170 of
                                                                              25

                                                                              26 the Complaint and refers all questions of law to this Honorable Court.
                                                                              27            171.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                              28
                                                                                                                                    30
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                                                                               1 apply to the action herein. Notwithstanding, Loan Prairie denies the allegations in Paragraph 171 of

                                                                               2
                                                                                   the Complaint and refers all questions of law to this Honorable Court.
                                                                               3
                                                                                          172.   Loan Prairie denies the allegations in Paragraph 172 of the Complaint and refers all
                                                                               4

                                                                               5 questions of law to this Honorable Court.

                                                                               6          173.   Loan Prairie denies the allegations in Paragraph 173 of the Complaint and refers all
                                                                               7
                                                                                   questions of law to this Honorable Court.
                                                                               8
                                                                                          174.   Loan Prairie denies the allegations in Paragraph 174 of the Complaint and refers all
                                                                               9

                                                                              10 questions of law to this Honorable Court. To the extent that the allegations in Paragraph 174 of the

                                                                              11 Complaint are directed to other defendants, Loan Prairie denies knowledge or information
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                                                                              12 sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              13
                                                                                          175.   Loan Prairie denies the allegations in Paragraph 175 of the Complaint and refers all
                                                                              14

                                                                              15
                                                                                   questions of law to this Honorable Court.

                                                                              16          176.   Loan Prairie denies the allegations in Paragraph 176 of the Complaint and refers all
                                                                              17 questions of law to this Honorable Court. To the extent that the allegations in Paragraph 176 of the

                                                                              18
                                                                                   Complaint are directed to other defendants, Loan Prairie denies knowledge or information
                                                                              19
                                                                                   sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              20

                                                                              21          177.   Loan Prairie denies the allegation as to what these defendants can “justly complain”
                                                                              22 of in terms of the Mexico’s unwillingness, inability and ineptitude in controlling, preventing and

                                                                              23
                                                                                   stemming criminal activity within its borders, but denies information or knowledge sufficient to
                                                                              24
                                                                                   form a belief as to specific programs conducted by law enforcement as set forth in Paragraph 177
                                                                              25

                                                                              26 of the Complaint.
                                                                              27          178.   Loan Prairie denies the allegations in Paragraph 178 of the Complaint.
                                                                              28
                                                                                                                                     31
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                                                                               1                      VIII. DEFENDANTS’ ALLEGED RICO VIOLATIONS
                                                                               2
                                                                                          179.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               3
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                               4

                                                                               5 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                               6 Loan Prairie denies any factual allegations in Paragraph 179 of the Complaint directed against it,

                                                                               7
                                                                                   refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph
                                                                               8
                                                                                   179 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or
                                                                               9

                                                                              10 information sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              11          180.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
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                                                                              12 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              13
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                              14

                                                                              15
                                                                                   Loan Prairie denies any factual allegations in Paragraph 180 of the Complaint directed against it,

                                                                              16 refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph

                                                                              17 180 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or

                                                                              18
                                                                                   information sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              19
                                                                                          181.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              20

                                                                              21 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              22 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              23
                                                                                   Loan Prairie denies any factual allegations in Paragraph 181 of the Complaint directed against it,
                                                                              24
                                                                                   refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph
                                                                              25

                                                                              26 181 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or
                                                                              27 information sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              28
                                                                                                                                     32
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                                                                               1          182.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               2
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                               3
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                               4

                                                                               5 Loan Prairie denies any factual allegations in Paragraph 182 of the Complaint directed against it,

                                                                               6 refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph

                                                                               7
                                                                                   182 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or
                                                                               8
                                                                                   information sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                               9

                                                                              10          183.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO

                                                                              11 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
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                                                                              12 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              13
                                                                                   Loan Prairie denies any factual allegations in Paragraph 183 of the Complaint directed against it,
                                                                              14

                                                                              15
                                                                                   refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph

                                                                              16 183 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or

                                                                              17 information sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              18
                                                                                          184.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              19
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                              20

                                                                              21 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              22 Loan Prairie denies any factual allegations in Paragraph 184 of the Complaint directed against it,

                                                                              23
                                                                                   refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph
                                                                              24
                                                                                   184 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or
                                                                              25

                                                                              26 information sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              27          185.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              28
                                                                                                                                     33
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                                                                               1 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                               2
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                               3
                                                                                   Loan Prairie denies any factual allegations in Paragraph 185 of the Complaint directed against it,
                                                                               4

                                                                               5 refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph

                                                                               6 185 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or

                                                                               7
                                                                                   information sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                               8
                                                                                          186.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               9

                                                                              10 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              11 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
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                                                                              12 Loan Prairie denies any factual allegations in Paragraph 186 of the Complaint directed against it,

                                                                              13
                                                                                   refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph
                                                                              14

                                                                              15
                                                                                   186 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or

                                                                              16 information sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              17          187.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              18
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                              19
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                              20

                                                                              21 Loan Prairie denies any factual allegations in Paragraph 187 of the Complaint directed against it,

                                                                              22 refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph

                                                                              23
                                                                                   187 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or
                                                                              24
                                                                                   information sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              25

                                                                              26          188.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              27 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              28
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                                                                               1 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                               2
                                                                                   Loan Prairie denies any factual allegations in Paragraph 188 of the Complaint directed against it,
                                                                               3
                                                                                   refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph
                                                                               4

                                                                               5 188 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or

                                                                               6 information sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                               7
                                                                                          189.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               8
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                               9

                                                                              10 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              11 Loan Prairie denies any factual allegations in Paragraph 189 of the Complaint directed against it,
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph

                                                                              13
                                                                                   189 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or
                                                                              14

                                                                              15
                                                                                   information sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              16          190.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              17 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              18
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                              19
                                                                                   Loan Prairie denies any factual allegations in Paragraph 190 of the Complaint directed against it,
                                                                              20

                                                                              21 refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph

                                                                              22 190 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or

                                                                              23
                                                                                   information sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              24
                                                                                          191.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              25

                                                                              26 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                              27 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

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                                                                               1 Loan Prairie denies any factual allegations in Paragraph 191 of the Complaint directed against it,

                                                                               2
                                                                                   refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph
                                                                               3
                                                                                   191 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or
                                                                               4

                                                                               5 information sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                               6          192.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               7
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                               8
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                               9

                                                                              10 Loan Prairie denies any factual allegations in Paragraph 192 of the Complaint directed against it,

                                                                              11 refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph
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                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 192 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or

                                                                              13
                                                                                   information sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              14

                                                                              15
                                                                                          193.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO

                                                                              16 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              17 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              18
                                                                                   Loan Prairie denies any factual allegations in Paragraph 193 of the Complaint directed against it,
                                                                              19
                                                                                   refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph
                                                                              20

                                                                              21 193 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or

                                                                              22 information sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              23
                                                                                          194.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              24
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                              25

                                                                              26 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                              27 Loan Prairie denies any factual allegations in Paragraph 194 of the Complaint directed against it,

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                                                                               1 refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph

                                                                               2
                                                                                   194 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or
                                                                               3
                                                                                   information sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                               4

                                                                               5          195.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO

                                                                               6 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                               7
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                               8
                                                                                   Loan Prairie denies any factual allegations in Paragraph 195 of the Complaint directed against it,
                                                                               9

                                                                              10 refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph

                                                                              11 195 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or
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                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 information sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              13
                                                                                          196.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              14

                                                                              15
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              16 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              17 Loan Prairie denies any factual allegations in Paragraph 196 of the Complaint directed against it,

                                                                              18
                                                                                   refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph
                                                                              19
                                                                                   196 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or
                                                                              20

                                                                              21 information sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              22          197.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              23
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                              24
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                              25

                                                                              26 Loan Prairie denies any factual allegations in Paragraph 197 of the Complaint directed against it,
                                                                              27 refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph

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                                                                                                                                     37
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                                                                               1 197 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or

                                                                               2
                                                                                   information sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                               3
                                                                                          198.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               4

                                                                               5 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                               6 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                               7
                                                                                   Loan Prairie denies any factual allegations in Paragraph 198 of the Complaint directed against it,
                                                                               8
                                                                                   refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph
                                                                               9

                                                                              10 198 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or

                                                                              11 information sufficient to form a belief about the truth of such allegations, so same are denied.
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                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12          199.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              13
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                              14

                                                                              15
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              16 Loan Prairie denies any factual allegations in Paragraph 199 of the Complaint directed against it,

                                                                              17 refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph

                                                                              18
                                                                                   199 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or
                                                                              19
                                                                                   information sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              20

                                                                              21          200.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              22 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              23
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                              24
                                                                                   Loan Prairie denies any factual allegations in Paragraph 200 of the Complaint directed against it,
                                                                              25

                                                                              26 refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph
                                                                              27 200 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or

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                                                                               1 information sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                               2
                                                                                          201.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               3
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                               4

                                                                               5 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                               6 Loan Prairie denies any factual allegations in Paragraph 201 of the Complaint directed against it,

                                                                               7
                                                                                   refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph
                                                                               8
                                                                                   201 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or
                                                                               9

                                                                              10 information sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              11          202.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
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                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              13
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                              14

                                                                              15
                                                                                   Loan Prairie denies any factual allegations in Paragraph 202 of the Complaint directed against it,

                                                                              16 refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph

                                                                              17 202 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or

                                                                              18
                                                                                   information sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              19
                                                                                          203.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              20

                                                                              21 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              22 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              23
                                                                                   Loan Prairie denies any factual allegations in Paragraph 203 of the Complaint directed against it,
                                                                              24
                                                                                   refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph
                                                                              25

                                                                              26 203 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or
                                                                              27 information sufficient to form a belief about the truth of such allegations, so same are denied.

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                                                                               1          204.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               2
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                               3
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                               4

                                                                               5 Loan Prairie denies any factual allegations in Paragraph 204 of the Complaint directed against it,

                                                                               6 refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph

                                                                               7
                                                                                   204 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or
                                                                               8
                                                                                   information sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                               9

                                                                              10          205.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO

                                                                              11 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
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                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              13
                                                                                   Loan Prairie denies any factual allegations in Paragraph 205 of the Complaint directed against it,
                                                                              14

                                                                              15
                                                                                   refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph

                                                                              16 205 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or

                                                                              17 information sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              18
                                                                                          206.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              19
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                              20

                                                                              21 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              22 Loan Prairie denies any factual allegations in Paragraph 206 of the Complaint directed against it,

                                                                              23
                                                                                   refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph
                                                                              24
                                                                                   206 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or
                                                                              25

                                                                              26 information sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              27          207.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              28
                                                                                                                                     40
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                                                                               1 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                               2
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                               3
                                                                                   Loan Prairie denies any factual allegations in Paragraph 207 of the Complaint directed against it,
                                                                               4

                                                                               5 refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph

                                                                               6 207 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or

                                                                               7
                                                                                   information sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                               8
                                                                                          208.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               9

                                                                              10 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              11 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
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                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 Loan Prairie denies any factual allegations in Paragraph 208 of the Complaint directed against it,

                                                                              13
                                                                                   refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph
                                                                              14

                                                                              15
                                                                                   208 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or

                                                                              16 information sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              17          209.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              18
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                              19
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                              20

                                                                              21 Loan Prairie denies any factual allegations in Paragraph 209 of the Complaint directed against it,

                                                                              22 refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph

                                                                              23
                                                                                   209 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or
                                                                              24
                                                                                   information sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              25

                                                                              26          210.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              27 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

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                                                                               1 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                               2
                                                                                   Loan Prairie denies any factual allegations in Paragraph 210 of the Complaint directed against it,
                                                                               3
                                                                                   refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph
                                                                               4

                                                                               5 210 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or

                                                                               6 information sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                               7
                                                                                          211.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               8
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                               9

                                                                              10 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              11 Loan Prairie denies any factual allegations in Paragraph 211 of the Complaint directed against it,
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                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph

                                                                              13
                                                                                   211 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or
                                                                              14

                                                                              15
                                                                                   information sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              16          212.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              17 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              18
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                              19
                                                                                   Loan Prairie denies any factual allegations in Paragraph 212 of the Complaint directed against it,
                                                                              20

                                                                              21 refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph

                                                                              22 212 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or

                                                                              23
                                                                                   information sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              24
                                                                                          213.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              25

                                                                              26 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                              27 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

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                                                                               1 Loan Prairie denies any factual allegations in Paragraph 213 of the Complaint directed against it,

                                                                               2
                                                                                   refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph
                                                                               3
                                                                                   213 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or
                                                                               4

                                                                               5 information sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                               6          214.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               7
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                               8
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                               9

                                                                              10 Loan Prairie denies any factual allegations in Paragraph 214 of the Complaint directed against it,

                                                                              11 refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph
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                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 214 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or

                                                                              13
                                                                                   information sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              14

                                                                              15
                                                                                          215.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO

                                                                              16 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              17 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              18
                                                                                   Loan Prairie denies any factual allegations in Paragraph 215 of the Complaint directed against it,
                                                                              19
                                                                                   refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph
                                                                              20

                                                                              21 215 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or

                                                                              22 information sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              23
                                                                                          216.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              24
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                              25

                                                                              26 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                              27 Loan Prairie denies any factual allegations in Paragraph 216 of the Complaint directed against it,

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                                                                               1 refers all questions of law to this Honorable Court, and to the extent any allegations in Paragraph

                                                                               2
                                                                                   216 of the Complaint are directed to other defendants, Loan Prairie denies knowledge or
                                                                               3
                                                                                   information sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                               4

                                                                               5      IX.     DEFENDANTS’ ALLEGED CONSUMER FRAUD STATUTE VIOLATIONS

                                                                               6          217.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                               7
                                                                                   Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no
                                                                               8
                                                                                   response to the allegations related to or in support of Plaintiff’s CFA claims is required.
                                                                               9

                                                                              10 Notwithstanding, Loan Prairie denies the allegations in Paragraph 217 of the Complaint, refers all

                                                                              11 questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 217 of
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                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 the Complaint are directed to other defendants, Loan Prairie denies knowledge or information

                                                                              13
                                                                                   sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              14

                                                                              15
                                                                                          218.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona

                                                                              16 Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no

                                                                              17 response to the allegations related to or in support of Plaintiff’s CFA claims is required.

                                                                              18
                                                                                   Notwithstanding, Loan Prairie denies the allegations in Paragraph 218 of the Complaint, refers all
                                                                              19
                                                                                   questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 218 of
                                                                              20

                                                                              21 the Complaint are directed to other defendants, Loan Prairie denies knowledge or information

                                                                              22 sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              23
                                                                                          219.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                              24
                                                                                   Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no
                                                                              25

                                                                              26 response to the allegations related to or in support of Plaintiff’s CFA claims is required.
                                                                              27 Notwithstanding, Loan Prairie denies the allegations in Paragraph 219 of the Complaint, refers all

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                                                                               1 questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 219 of

                                                                               2
                                                                                   the Complaint are directed to other defendants, Loan Prairie denies knowledge or information
                                                                               3
                                                                                   sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                               4

                                                                               5          220.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona

                                                                               6 Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no

                                                                               7
                                                                                   response to the allegations related to or in support of Plaintiff’s CFA claims is required.
                                                                               8
                                                                                   Notwithstanding, Loan Prairie denies the allegations in Paragraph 220 of the Complaint, refers all
                                                                               9

                                                                              10 questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 220 of

                                                                              11 the Complaint are directed to other defendants, Loan Prairie denies knowledge or information
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                                                                              12 sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              13
                                                                                          221.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                              14

                                                                              15
                                                                                   Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no

                                                                              16 response to the allegations related to or in support of Plaintiff’s CFA claims is required.

                                                                              17 Notwithstanding, Loan Prairie denies the allegations in Paragraph 221 of the Complaint, refers all

                                                                              18
                                                                                   questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 221 of
                                                                              19
                                                                                   the Complaint are directed to other defendants, Loan Prairie denies knowledge or information
                                                                              20

                                                                              21 sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              22          222.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                              23
                                                                                   Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no
                                                                              24
                                                                                   response to the allegations related to or in support of Plaintiff’s CFA claims is required.
                                                                              25

                                                                              26 Notwithstanding, Loan Prairie denies the allegations in Paragraph 222 of the Complaint, refers all
                                                                              27 questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 222 of

                                                                              28
                                                                                                                                     45
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                                                                               1 the Complaint are directed to other defendants, Loan Prairie denies knowledge or information

                                                                               2
                                                                                   sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                               3
                                                                                          223.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                               4

                                                                               5 Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no

                                                                               6 response to the allegations related to or in support of Plaintiff’s CFA claims is required.

                                                                               7
                                                                                   Notwithstanding, Loan Prairie denies the allegations in Paragraph 223 of the Complaint, refers all
                                                                               8
                                                                                   questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 223 of
                                                                               9

                                                                              10 the Complaint are directed to other defendants, Loan Prairie denies knowledge or information

                                                                              11 sufficient to form a belief about the truth of such allegations, so same are denied.
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                                                                              12          224.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                              13
                                                                                   Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no
                                                                              14

                                                                              15
                                                                                   response to the allegations related to or in support of Plaintiff’s CFA claims is required.

                                                                              16 Notwithstanding, Loan Prairie denies the allegations in Paragraph 224 of the Complaint, refers all

                                                                              17 questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 224 of

                                                                              18
                                                                                   the Complaint are directed to other defendants, Loan Prairie denies knowledge or information
                                                                              19
                                                                                   sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              20

                                                                              21          225.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                              22 Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no

                                                                              23
                                                                                   response to the allegations related to or in support of Plaintiff’s CFA claims is required.
                                                                              24
                                                                                   Notwithstanding, Loan Prairie denies the allegations in Paragraph 225 of the Complaint, refers all
                                                                              25

                                                                              26 questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 225 of
                                                                              27 the Complaint are directed to other defendants, Loan Prairie denies knowledge or information

                                                                              28
                                                                                                                                     46
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                                                                               1 sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                               2
                                                                                          226.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                               3
                                                                                   Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no
                                                                               4

                                                                               5 response to the allegations related to or in support of Plaintiff’s CFA claims is required.

                                                                               6 Notwithstanding, Loan Prairie denies the allegations in Paragraph 226 of the Complaint, refers all

                                                                               7
                                                                                   questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 226 of
                                                                               8
                                                                                   the Complaint are directed to other defendants, Loan Prairie denies knowledge or information
                                                                               9

                                                                              10 sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              11          227.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
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                                                                              12 Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no

                                                                              13
                                                                                   response to the allegations related to or in support of Plaintiff’s CFA claims is required.
                                                                              14

                                                                              15
                                                                                   Notwithstanding, Loan Prairie denies the allegations in Paragraph 227 of the Complaint, refers all

                                                                              16 questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 227 of

                                                                              17 the Complaint are directed to other defendants, Loan Prairie denies knowledge or information

                                                                              18
                                                                                   sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              19
                                                                                          228.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                              20

                                                                              21 Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no

                                                                              22 response to the allegations related to or in support of Plaintiff’s CFA claims is required.

                                                                              23
                                                                                   Notwithstanding, Loan Prairie denies the allegations in Paragraph 228 of the Complaint, refers all
                                                                              24
                                                                                   questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 228 of
                                                                              25

                                                                              26 the Complaint are directed to other defendants, Loan Prairie denies knowledge or information
                                                                              27 sufficient to form a belief about the truth of such allegations, so same are denied.

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                                                                               1          229.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                               2
                                                                                   Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no
                                                                               3
                                                                                   response to the allegations related to or in support of Plaintiff’s CFA claims is required.
                                                                               4

                                                                               5 Notwithstanding, Loan Prairie denies the allegations in Paragraph 229 of the Complaint, refers all

                                                                               6 questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 229 of

                                                                               7
                                                                                   the Complaint are directed to other defendants, Loan Prairie denies knowledge or information
                                                                               8
                                                                                   sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                               9

                                                                              10          230.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona

                                                                              11 Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no
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                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 response to the allegations related to or in support of Plaintiff’s CFA claims is required.

                                                                              13
                                                                                   Notwithstanding, Loan Prairie denies the allegations in Paragraph 230 of the Complaint, refers all
                                                                              14

                                                                              15
                                                                                   questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 230 of

                                                                              16 the Complaint are directed to other defendants, Loan Prairie denies knowledge or information

                                                                              17 sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              18
                                                                                          231.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                              19
                                                                                   Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no
                                                                              20

                                                                              21 response to the allegations related to or in support of Plaintiff’s CFA claims is required.

                                                                              22 Notwithstanding, Loan Prairie denies the allegations in Paragraph 231 of the Complaint, refers all

                                                                              23
                                                                                   questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 231 of
                                                                              24
                                                                                   the Complaint are directed to other defendants, Loan Prairie denies knowledge or information
                                                                              25

                                                                              26 sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              27          232.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                              28
                                                                                                                                     48
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                                                                               1 Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no

                                                                               2
                                                                                   response to the allegations related to or in support of Plaintiff’s CFA claims is required.
                                                                               3
                                                                                   Notwithstanding, Loan Prairie denies the allegations in Paragraph 232 of the Complaint, refers all
                                                                               4

                                                                               5 questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 232 of

                                                                               6 the Complaint are directed to other defendants, Loan Prairie denies knowledge or information

                                                                               7
                                                                                   sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                               8
                                                                                          233.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                               9

                                                                              10 Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no

                                                                              11 response to the allegations related to or in support of Plaintiff’s CFA claims is required.
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                                                                              12 Notwithstanding, Loan Prairie denies the allegations in Paragraph 233 of the Complaint, refers all

                                                                              13
                                                                                   questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 233 of
                                                                              14

                                                                              15
                                                                                   the Complaint are directed to other defendants, Loan Prairie denies knowledge or information

                                                                              16 sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              17          234.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                              18
                                                                                   Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no
                                                                              19
                                                                                   response to the allegations related to or in support of Plaintiff’s CFA claims is required.
                                                                              20

                                                                              21 Notwithstanding, Loan Prairie denies the allegations in Paragraph 234 of the Complaint, refers all

                                                                              22 questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 234 of

                                                                              23
                                                                                   the Complaint are directed to other defendants, Loan Prairie denies knowledge or information
                                                                              24
                                                                                   sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              25

                                                                              26                  X.     DEFENDANTS’ ALLEGED HARM TO GOVERNMENT
                                                                              27          235.   Loan Prairie denies the allegations in Paragraph 235 of the Complaint. To the extent
                                                                              28
                                                                                                                                     49
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                                                                               1 that the allegations in Paragraph 235 of the Complaint are directed to other defendants, Loan

                                                                               2
                                                                                   Prairie denies knowledge or information sufficient to form a belief about the truth of such
                                                                               3
                                                                                   allegations, so same are denied.
                                                                               4

                                                                               5          236.   Loan Prairie denies the allegations in Paragraph 236 of the Complaint and refers all

                                                                               6 questions of law to this Honorable Court. To the extent that the allegations in Paragraph 236 of the

                                                                               7
                                                                                   Complaint are directed to other defendants, Loan Prairie denies knowledge or information
                                                                               8
                                                                                   sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                               9

                                                                              10          237.   Loan Prairie denies the allegations in Paragraph 237 of the Complaint and refers all

                                                                              11 questions of law to this Honorable Court. To the extent that the allegations in Paragraph 237 of the
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                                                                              12 Complaint are directed to other defendants, Loan Prairie denies knowledge or information

                                                                              13
                                                                                   sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              14

                                                                              15
                                                                                          238.   Loan Prairie denies the allegations in Paragraph 238 of the Complaint and refers all

                                                                              16 questions of law to this Honorable Court. To the extent that the allegations in Paragraph 238 of the

                                                                              17 Complaint are directed to other defendants, Loan Prairie denies knowledge or information

                                                                              18
                                                                                   sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              19
                                                                                          239.   Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              20

                                                                              21 truth of the allegations in Paragraph 239 of the Complaint.

                                                                              22          240.   Loan Prairie denies the allegations in Paragraph 240 of the Complaint and refers all
                                                                              23
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 240 of the
                                                                              24
                                                                                   Complaint are directed to other defendants, Loan Prairie denies knowledge or information
                                                                              25

                                                                              26 sufficient to form a belief about the truth of such allegations.
                                                                              27          241.   Loan Prairie denies the allegations in Paragraph 241 of the Complaint and refers all
                                                                              28
                                                                                                                                     50
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                                                                               1 questions of law to this Honorable Court. To the extent that the allegations in Paragraph 241 of the

                                                                               2
                                                                                   Complaint are directed to other defendants, Loan Prairie denies knowledge or information
                                                                               3
                                                                                   sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                               4

                                                                               5          242.   Loan Prairie denies knowledge or information sufficient to form a belief about the

                                                                               6 truth of the allegations in Paragraph 242 of the Complaint regarding any link between “gun

                                                                               7
                                                                                   trafficking from the United States” to “horrendous consequences in Mexico” and as well as the
                                                                               8
                                                                                   increase in illegal gun ownership and homicide rate in Mexico. Loan Prairie denies the remaining
                                                                               9

                                                                              10 allegations in Paragraph 242 of the Complaint.

                                                                              11          243.   Loan Prairie denies the allegations in Paragraph 243 of the Complaint.
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                                                                              12          244.   Loan Prairie denies the allegations in Paragraph 244 of the Complaint.
                                                                              13
                                                                                          245.   Loan Prairie denies the allegations in Paragraph 245 of the Complaint.
                                                                              14

                                                                              15
                                                                                          246.   Loan Prairie denies the allegations in Paragraph 246 of the Complaint.

                                                                              16          247.   Loan Prairie denies the allegations in Paragraph 247 of the Complaint. To the extent
                                                                              17 that the allegations in Paragraph 247 of the Complaint are directed to other defendants, Loan

                                                                              18
                                                                                   Prairie denies knowledge or information sufficient to form a belief about the truth of such
                                                                              19
                                                                                   allegations, so same are denied.
                                                                              20

                                                                              21          248.   Loan Prairie denies the allegations in Paragraph 248 of the Complaint and refers all
                                                                              22 questions of law as to what damages are legally recoverable by Plaintiff to this Honorable Court.

                                                                              23
                                                                                          249.   Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              24
                                                                                   truth of the allegations in Paragraph 249 regarding life expectancy trends in Mexico, but denies the
                                                                              25

                                                                              26 allegation that deaths caused by firearms sold by Loan Prairie was causally related to any such
                                                                              27 downward trends. To the extent that the allegations in Paragraph 249 of the Complaint are directed

                                                                              28
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                                                                               1 to other defendants, Loan Prairie denies knowledge or information sufficient to form a belief about

                                                                               2
                                                                                   the truth of such allegations, so same are denied.
                                                                               3
                                                                                          250.   Loan Prairie denies the allegations in Paragraph 250 of the Complaint.
                                                                               4

                                                                               5          251.   Loan Prairie denies knowledge or information sufficient to form a belief about the

                                                                               6 truth of the allegations in Paragraph 251 of the Complaint.

                                                                               7
                                                                                          252.   Loan Prairie denies the allegations in Paragraph 252 of the Complaint. To the extent
                                                                               8
                                                                                   that the allegations in Paragraph 252 of the Complaint are directed to other defendants, Loan
                                                                               9

                                                                              10 Prairie denies knowledge or information sufficient to form a belief about the truth of such

                                                                              11 allegations, so same are denied.
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                                                                              12          253.   Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              13
                                                                                   truth of the allegations in Paragraph 253 of the Complaint, and will hold Plaintiff to its proof in
                                                                              14

                                                                              15
                                                                                   admissible form.

                                                                              16          254.   Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              17 truth of the allegations in Paragraph 254 of the Complaint, and will hold Plaintiff to its proof in

                                                                              18
                                                                                   admissible form.
                                                                              19
                                                                                          255.   Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              20

                                                                              21 truth of the allegations in Paragraph 255 of the Complaint, and will hold Plaintiff to its proof in

                                                                              22 admissible form.

                                                                              23
                                                                                          256.   Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              24
                                                                                   truth of the allegations in Paragraph 256 of the Complaint, and will hold Plaintiff to its proof in
                                                                              25

                                                                              26 admissible form.
                                                                              27          257.   Loan Prairie denies knowledge or information sufficient to form a belief about the
                                                                              28
                                                                                                                                        52
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                                                                               1 truth of the allegations in Paragraph 257 of the Complaint, and will hold Plaintiff to its proof in

                                                                               2
                                                                                   admissible form.
                                                                               3
                                                                                          258.   Loan Prairie denies the allegations in Paragraph 258 of the Complaint. To the extent
                                                                               4

                                                                               5 that the allegations in Paragraph 258 of the Complaint are directed to other defendants, Loan

                                                                               6 Prairie denies knowledge or information sufficient to form a belief about the truth of such

                                                                               7
                                                                                   allegations, so same are denied.
                                                                               8
                                                                                          259.   Loan Prairie denies the allegations in Paragraph 259 of the Complaint and refers all
                                                                               9

                                                                              10 questions of law to this Honorable Court. To the extent that the allegations in Paragraph 259 of the

                                                                              11 Complaint are directed to other defendants, Loan Prairie denies knowledge or information
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                                                                              12 sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              13
                                                                                          260.   Loan Prairie denies the allegations in Paragraph 260 of the Complaint and refers all
                                                                              14

                                                                              15
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 260 of the

                                                                              16 Complaint are directed to other defendants, Loan Prairie denies knowledge or information

                                                                              17 sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              18
                                                                                                                      XI.   CLAIMS FOR RELIEF
                                                                              19
                                                                                                                              COUNT ONE
                                                                              20
                                                                                                                            (NEGLIGENCE)
                                                                              21
                                                                                          261.   Loan Prairie hereby repeats and incorporates by reference its response to each
                                                                              22

                                                                              23 preceding and succeeding Paragraph as though fully set forth herein.

                                                                              24          262.   Loan Prairie denies the allegations in Paragraph 262 of the Complaint and refers all
                                                                              25
                                                                                   questions of law to this Honorable Court.
                                                                              26
                                                                                          263.   Loan Prairie denies the allegations in Paragraph 263 of the Complaint and refers all
                                                                              27

                                                                              28 questions of law to this Honorable Court. To the extent that the allegations in Paragraph 263 of the
                                                                                                                                   53
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                                                                               1 Complaint are directed to other defendants, Loan Prairie denies knowledge or information

                                                                               2
                                                                                   sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                               3
                                                                                          264.   Loan Prairie denies the allegations in Paragraph 264 of the Complaint and refers all
                                                                               4

                                                                               5 questions of law to this Honorable Court.

                                                                               6          265.   Loan Prairie denies the allegations in Paragraph 265 of the Complaint and refers all
                                                                               7
                                                                                   questions of law to this Honorable Court.
                                                                               8
                                                                                                                            COUNT TWO
                                                                               9                                         (PUBLIC NUISANCE)
                                                                              10
                                                                                          266.   Loan Prairie hereby repeats and incorporates by reference its response to each
                                                                              11
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                                                                                   preceding and succeeding Paragraph as though fully set forth herein.
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                                                                              12

                                                                              13          267.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s public

                                                                              14 nuisance claim was dismissed. As such, no response to this claim is required.

                                                                              15
                                                                                          268.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s public
                                                                              16
                                                                                   nuisance claim was dismissed. As such, no response to this claim is required.
                                                                              17

                                                                              18          269.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s public

                                                                              19 nuisance claim was dismissed. As such, no response to this claim is required.

                                                                              20
                                                                                          270.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s public
                                                                              21
                                                                                   nuisance claim was dismissed. As such, no response to this claim is required.
                                                                              22

                                                                              23          271.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s public

                                                                              24 nuisance claim was dismissed. As such, no response to this claim is required.

                                                                              25
                                                                                          272.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s public
                                                                              26
                                                                                   nuisance claim was dismissed. As such, no response to this claim is required.
                                                                              27

                                                                              28          273.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s public
                                                                                                                                     54
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                                                                               1 nuisance claim was dismissed. As such, no response to this claim is required.

                                                                               2
                                                                                                                         COUNT THREE
                                                                               3                                   (NEGLIGENT ENTRUSTMENT)

                                                                               4          274.   Loan Prairie hereby repeats and incorporates by reference its response to each
                                                                               5
                                                                                   preceding and succeeding Paragraph as though fully set forth herein.
                                                                               6
                                                                                          275.   Loan Prairie denies the allegations in Paragraph 275 of the Complaint and refers all
                                                                               7

                                                                               8 questions of law to this Honorable Court. To the extent that the allegations in Paragraph 275 of the

                                                                               9 Complaint are directed to other defendants, Loan Prairie denies knowledge or information

                                                                              10
                                                                                   sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              11
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                                                                                          276.   Loan Prairie denies the allegations in Paragraph 276 of the Complaint and refers all
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12

                                                                              13 questions of law to this Honorable Court.

                                                                              14          277.   Loan Prairie denies the allegations in Paragraph 277 of the Complaint and refers all
                                                                              15
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 277 of the
                                                                              16
                                                                                   Complaint are directed to other defendants, Loan Prairie denies knowledge or information
                                                                              17

                                                                              18 sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              19          278.   Loan Prairie denies the allegations in Paragraph 278 of the Complaint and refers all
                                                                              20
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 278 of the
                                                                              21
                                                                                   Complaint are directed to other defendants, Loan Prairie denies knowledge or information
                                                                              22

                                                                              23 sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              24          279.   Loan Prairie denies the allegations in Paragraph 279 of the Complaint and refers all
                                                                              25
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 279 of the
                                                                              26
                                                                                   Complaint are directed to other defendants, Loan Prairie denies knowledge or information
                                                                              27

                                                                              28 sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                                                                                     55
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                                                                               1          280.   Loan Prairie denies the allegations in Paragraph 280 of the Complaint and refers all
                                                                               2
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 280 of the
                                                                               3
                                                                                   Complaint are directed to other defendants, Loan Prairie denies knowledge or information
                                                                               4

                                                                               5 sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                               6          281.   Loan Prairie denies the allegations in Paragraph 281 of the Complaint.
                                                                               7
                                                                                          282.   Loan Prairie denies the allegations in Paragraph 282 of the Complaint and refers all
                                                                               8
                                                                                   questions of law to this Honorable Court.
                                                                               9

                                                                              10          283.   Loan Prairie denies the allegations in Paragraph 283 of the Complaint and refers all

                                                                              11 questions of law to this Honorable Court.
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                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                                                          COUNT FOUR
                                                                              13                                      (NEGLIGENCE PER SE)

                                                                              14          284.   Loan Prairie hereby repeats and incorporates by reference its response to each
                                                                              15
                                                                                   preceding and succeeding Paragraph as though fully set forth herein.
                                                                              16
                                                                                          285.   Loan Prairie denies the allegations in Paragraph 285 of the Complaint and refers all
                                                                              17

                                                                              18 questions of law to this Honorable Court.
                                                                              19          286.   Loan Prairie denies the allegations in Paragraph 286 of the Complaint and refers all
                                                                              20
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 286 of the
                                                                              21
                                                                                   Complaint are directed to other defendants, Loan Prairie denies knowledge or information
                                                                              22

                                                                              23 sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              24          287.   Loan Prairie denies the allegations in Paragraph 287 of the Complaint and refers all
                                                                              25
                                                                                   questions of law to this Honorable Court.
                                                                              26
                                                                              27

                                                                              28
                                                                                                                                   56
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                                                                               1                                          COUNT FIVE
                                                                                                                      (GROSS NEGLIGENCE)
                                                                               2

                                                                               3          288.   Loan Prairie hereby repeats and incorporates by reference its response to each

                                                                               4 preceding and succeeding Paragraph as though fully set forth herein.

                                                                               5
                                                                                          289.   Loan Prairie denies the allegations in Paragraph 289 of the Complaint and refers all
                                                                               6
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 289 of the
                                                                               7

                                                                               8 Complaint are directed to other defendants, Loan Prairie denies knowledge or information

                                                                               9 sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              10
                                                                                          290.   Loan Prairie denies the allegations in Paragraph 290 of the Complaint and refers all
                                                                              11
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                                                                                   questions of law to this Honorable Court.
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                                                                              12

                                                                              13          291.   Loan Prairie denies the allegations in Paragraph 291 of the Complaint and refers all

                                                                              14 questions of law to this Honorable Court.

                                                                              15
                                                                                          292.   Loan Prairie denies the allegations in Paragraph 292 of the Complaint and refers all
                                                                              16
                                                                                   questions of law to this Honorable Court.
                                                                              17

                                                                              18          293.   Loan Prairie denies the allegations in Paragraph 293 of the Complaint and refers all

                                                                              19 questions of law to this Honorable Court.

                                                                              20
                                                                                                                      COUNT SIX
                                                                              21                         (UNJUST ENRICHMENT AND RESTITUTION)
                                                                              22          294.   Loan Prairie hereby repeats and incorporates by reference its response to each
                                                                              23
                                                                                   preceding and succeeding Paragraph as though fully set forth herein.
                                                                              24
                                                                                          295.   Loan Prairie denies the allegations in Paragraph 295 of the Complaint. To the extent
                                                                              25

                                                                              26 that the allegations in Paragraph 295 of the Complaint are directed to other defendants, Loan
                                                                              27 Prairie denies knowledge or information sufficient to form a belief about the truth of such

                                                                              28
                                                                                                                                   57
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                                                                               1 allegations, so same are denied.

                                                                               2
                                                                                          296.   Loan Prairie denies the allegations in Paragraph 296 of the Complaint and refers all
                                                                               3
                                                                                   questions of law to this Honorable Court.
                                                                               4

                                                                               5          297.   Loan Prairie denies the allegations in Paragraph 297 of the Complaint and refers all

                                                                               6 questions of law to this Honorable Court.

                                                                               7
                                                                                          298.   Loan Prairie denies the allegations in Paragraph 298 of the Complaint and refers all
                                                                               8
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 298 of the
                                                                               9

                                                                              10 Complaint are directed to other defendants, Loan Prairie denies knowledge or information

                                                                              11 sufficient to form a belief about the truth of such allegations, so same are denied.
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                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12          299.   Loan Prairie denies the allegations in Paragraph 299 of the Complaint and refers all
                                                                              13
                                                                                   questions of law to this Honorable Court.
                                                                              14

                                                                              15
                                                                                          300.   Loan Prairie denies the allegations in Paragraph 300 of the Complaint and refers all

                                                                              16 questions of law to this Honorable Court. To the extent that the allegations in Paragraph 300 of the

                                                                              17 Complaint are directed to other defendants, Loan Prairie denies knowledge or information

                                                                              18
                                                                                   sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              19
                                                                                          301.   Loan Prairie denies the allegations in Paragraph 301 of the Complaint and refers all
                                                                              20

                                                                              21 questions of law to this Honorable Court.

                                                                              22          302.   Loan Prairie denies the allegations in Paragraph 302 of the Complaint and refers all
                                                                              23
                                                                                   questions of law to this Honorable Court.
                                                                              24
                                                                                                                       COUNT SEVEN
                                                                              25
                                                                                                              (ARIZONA’S CONSUMER FRAUD ACT)
                                                                              26
                                                                                          303.   Loan Prairie hereby repeats and incorporates by reference its response to each
                                                                              27

                                                                              28 precedent and succeeding Paragraph as though fully set forth herein.
                                                                                                                                     58
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                                                                               1          304.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                               2
                                                                                   Consumer Fraud Act claim was dismissed. As such, no response to this claim is required.
                                                                               3
                                                                                          305.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                               4

                                                                               5 Consumer Fraud Act claim was dismissed. As such, no response to this claim is required.

                                                                               6          306.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                               7
                                                                                   Consumer Fraud Act claim was dismissed. As such, no response to this claim is required.
                                                                               8
                                                                                          307.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                               9

                                                                              10 Consumer Fraud Act claim was dismissed. As such, no response to this claim is required.

                                                                              11          308.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
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                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 Consumer Fraud Act claim was dismissed. As such, no response to this claim is required.

                                                                              13
                                                                                          309.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                              14

                                                                              15
                                                                                   Consumer Fraud Act claim was dismissed. As such, no response to this claim is required.

                                                                              16                                          COUNT EIGHT
                                                                                                                       (PUNITIVE DAMAGES)
                                                                              17

                                                                              18          310.   Loan Prairie hereby repeats and incorporates by reference its response to each

                                                                              19 preceding and succeeding Paragraph as though fully set forth herein.

                                                                              20
                                                                                          311.   Loan Prairie denies the allegations in Paragraph 311 of the Complaint and refers all
                                                                              21
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 311 of the
                                                                              22

                                                                              23 Complaint are directed to other defendants, Loan Prairie denies knowledge or information

                                                                              24 sufficient to form a belief about the truth of such allegations, so same are denied.

                                                                              25
                                                                                          312.   Loan Prairie denies the allegations in Paragraph 312 of the Complaint and refers all
                                                                              26
                                                                                   questions of law to this Honorable Court.
                                                                              27

                                                                              28          313.   Loan Prairie denies the allegations in Paragraph 313 of the Complaint and refers all
                                                                                                                                   59
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                                                                               1 questions of law to this Honorable Court.

                                                                               2
                                                                                                                COUNT NINE
                                                                               3           (RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT)
                                                                                                              18 U.S.C. § 1962(c)
                                                                               4

                                                                               5                                       Defendant SnG Tactical

                                                                               6          314.   Loan Prairie hereby repeats and incorporates by reference its response to each
                                                                               7
                                                                                   preceding and succeeding Paragraph as though fully set forth herein.
                                                                               8
                                                                                          315.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               9

                                                                              10 claims were dismissed. As such, no response to this claim is required.

                                                                              11          316.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
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                                                                              12 claims were dismissed. As such, no response to this claim is required.

                                                                              13
                                                                                          317.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              14

                                                                              15
                                                                                   claims were dismissed. As such, no response to this claim is required.

                                                                              16          318.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              17 claims were dismissed. As such, no response to this claim is required.

                                                                              18
                                                                                          319.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              19
                                                                                   claims were dismissed. As such, no response to this claim is required.
                                                                              20

                                                                              21                                COUNT TEN
                                                                                           (RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT)
                                                                              22                              18 U.S.C. § 1962(c)
                                                                              23
                                                                                                                       Defendant Diamondback
                                                                              24
                                                                                          320.   Loan Prairie hereby repeats and incorporates by reference its response to each
                                                                              25

                                                                              26 preceding and succeeding Paragraph as though fully set forth herein.
                                                                              27          321.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              28
                                                                                                                                   60
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                                                                               1 claims were dismissed. As such, no response to this claim is required.

                                                                               2
                                                                                          322.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               3
                                                                                   claims were dismissed. As such, no response to this claim is required.
                                                                               4

                                                                               5          323.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO

                                                                               6 claims were dismissed. As such, no response to this claim is required.

                                                                               7
                                                                                          324.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               8
                                                                                   claims were dismissed. As such, no response to this claim is required.
                                                                               9

                                                                              10          325.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO

                                                                              11 claims were dismissed. As such, no response to this claim is required.
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                                                                              12
                                                                                                              COUNT ELEVEN
                                                                              13           (RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT)
                                                                                                              18 U.S.C. § 1962(c)
                                                                              14

                                                                              15
                                                                                                                     Defendant Sprague’s Sports

                                                                              16          326.   Loan Prairie hereby repeats and incorporates by reference its response to each
                                                                              17 preceding and succeeding Paragraph as though fully set forth herein.

                                                                              18
                                                                                          327.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              19
                                                                                   claims were dismissed. As such, no response to this claim is required.
                                                                              20

                                                                              21          328.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              22 claims were dismissed. As such, no response to this claim is required.

                                                                              23
                                                                                          329.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              24
                                                                                   claims were dismissed. As such, no response to this claim is required.
                                                                              25

                                                                              26          330.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              27 claims were dismissed. As such, no response to this claim is required.

                                                                              28
                                                                                                                                   61
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                                                                               1          331.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               2
                                                                                   claims were dismissed. As such, no response to this claim is required.
                                                                               3
                                                                                                              COUNT TWELVE
                                                                               4           (RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT)
                                                                               5                              18 U.S.C. § 1962(c)

                                                                               6                                         Defendant Ammo AZ
                                                                               7
                                                                                          332.   Loan Prairie hereby repeats and incorporates by reference its response to each
                                                                               8
                                                                                   preceding and succeeding Paragraph as though fully set forth herein.
                                                                               9

                                                                              10          333.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO

                                                                              11 claims were dismissed. As such, no response to this claim is required.
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                                                                              12          334.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              13
                                                                                   claims were dismissed. As such, no response to this claim is required.
                                                                              14

                                                                              15
                                                                                          335.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO

                                                                              16 claims were dismissed. As such, no response to this claim is required.

                                                                              17          336.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              18
                                                                                   claims were dismissed. As such, no response to this claim is required.
                                                                              19
                                                                                          337.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              20

                                                                              21 claims were dismissed. As such, no response to this claim is required.

                                                                              22                              COUNT TWELVE
                                                                              23           (RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT)
                                                                                                              18 U.S.C. § 1962(c)
                                                                              24
                                                                                                                          Defendant The Hub
                                                                              25

                                                                              26          338.   Loan Prairie hereby repeats and incorporates by reference its response to each
                                                                              27 preceding and succeeding Paragraph as though fully set forth herein.

                                                                              28
                                                                                                                                   62
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                                                                               1          339.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               2
                                                                                   claims were dismissed. As such, no response to this claim is required.
                                                                               3
                                                                                          340.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               4

                                                                               5 claims were dismissed. As such, no response to this claim is required.

                                                                               6          341.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               7
                                                                                   claims were dismissed. As such, no response to this claim is required.
                                                                               8
                                                                                          342.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               9

                                                                              10 claims were dismissed. As such, no response to this claim is required.

                                                                              11          343.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
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                                                                              12 claims were dismissed. As such, no response to this claim is required.

                                                                              13
                                                                                                                 XII.    DEMAND FOR JUDGMENT
                                                                              14

                                                                              15
                                                                                          Defendant denies each and every allegation contained in the Demand for Judgment of

                                                                              16 Plaintiff’s Complaint, including the allegations contained in the Paragraphs designated “a” through

                                                                              17 “k” of same.

                                                                              18
                                                                                                                          GENERAL DENIAL
                                                                              19
                                                                                          Any allegation in the Complaint that is not specifically admitted is denied.
                                                                              20

                                                                              21                                     AFFIRMATIVE DEFENSES
                                                                              22          1.     Plaintiff’s Complaint, and each and every cause of action contained therein, is
                                                                              23 barred by the substantive immunity provided by the Protection of Lawful Commerce in Arms

                                                                              24 Act, 15 U.S.C. §§ 7901-03.

                                                                              25          2.     Plaintiff lacks Article III Standing to bring this suit.
                                                                              26          3.     Plaintiff’s claims fail due to a lack of proximate causation.
                                                                              27          4.     Plaintiff’s Complaint, and each and every cause of action contained therein, fails
                                                                              28 to state facts sufficient to state a claim.
                                                                                                                                     63
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                                                                               1        5.     Each of Plaintiff’s causes of action in the Complaint are barred, in whole or in
                                                                               2 part, by the applicable statutes of limitations, thereby barring recovery of any damages, or a

                                                                               3 reduction thereto. Specifically, Defendant contends that Plaintiff’s Complaint is barred, in whole

                                                                               4 or in part, by the one-year statute of limitations applicable to consumer fraud claims, A.R.S. §

                                                                               5 12-541 (however, pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s

                                                                               6 Arizona Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed);

                                                                               7 two-year statute of limitations for tort claims and negligence claims, A.R.S. § 12-542; the three-

                                                                               8 year statute of limitations, which applies to claims for restitution, A.RS. § 12-543; the four-year

                                                                               9 statute of limitations, which is applicable to claims for unjust enrichment , A.R.S. § 12-550.

                                                                              10        6.     Plaintiff failed to add parties indispensable to this case, including, but not limited
                                                                              11 to, the Unites States Government (including but not limited to the DOJ, ATF, ICE, DEA, FBI
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                                                                              12 and DHS), the alleged straw purchasers identified or unidentified in the Complaint, the alleged

                                                                              13 firearm traffickers identified and unidentified in the Complaint, the people who allegedly

                                                                              14 committed crimes with firearms sold by defendants, Mexican government, military, and law

                                                                              15 enforcement officials who supply illegal firearms to cartels, the foreign sources of firearms for

                                                                              16 cartels in Mexico, including those located in Central and South America, and the cartel

                                                                              17 members, associates, or agents thereof.

                                                                              18        7.     Any damages suffered by Plaintiff were proximately caused, in whole or in part,
                                                                              19 by the failure of Plaintiff to exercise reasonable care in curtailing and/or remedying the ongoing

                                                                              20 violence inflicted by the cartels on its own people, and therefore, Plaintiff’s recovery, if any,

                                                                              21 must be diminished by the proportion of the negligence, acquiescence, and/or inaction of

                                                                              22 Plaintiff, which proximately caused or contributed to Plaintiff’s alleged damages.

                                                                              23        8.     Any damages suffered by Plaintiff were proximately caused, in whole or in part,
                                                                              24 by the negligence or other actionable conduct of persons or entities other than Loan Prairie.

                                                                              25 Therefore, should Loan Prairie be found liable to Plaintiff as a result of the incidents alleged in

                                                                              26 the Complaint, the amount of Plaintiff’s recovery, if any, should be no greater than an amount
                                                                              27 which is equal to Loan Prairie’s proportionate share, if any, of the combined negligence or other

                                                                              28 actionable conduct of those persons or entities whose negligence or actionable conduct
                                                                                                                                 64
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                                                                               1 proximately caused Plaintiff’s alleged damages.

                                                                               2        9.     Plaintiff has failed to mitigate its damages, if any, suffered as a result of the
                                                                               3 incidents set forth in the Complaint.

                                                                               4        10.    Plaintiff’s claims for damages are barred by the economic loss rule.
                                                                               5        11.    Any damages suffered by Plaintiff were a direct and proximate result of
                                                                               6 superseding and intervening cause(s) based on the numerous criminal actions committed

                                                                               7 subsequent to any sale of firearms by Loan Prairie and before the alleged harm to Plaintiff.

                                                                               8        12.    Plaintiff is estopped from claiming the damages alleged against SnG in the
                                                                               9 Complaint because of Plaintiff’s negligence, improper conduct, acquiescence and/or inaction in

                                                                              10 creating, failing to curtail or remedy the ongoing violence inflicted by the cartels on its own

                                                                              11 people, including the doctrine of unclean hands, including estoppel by representation, estoppel
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                                                                              12 by acquiescence, equitable estoppel and estoppel by convention. Plaintiff has presented or stated

                                                                              13 facts that were not true and upon which Defendant detrimentally relied, including that it would

                                                                              14 police its borders, stop corruption and the illegal flow of firearms within its country, and would

                                                                              15 make efforts to prevent and deter cartel violence, drug violence and related firearms crimes. In

                                                                              16 addition, Plaintiff’s own negligence, improper conduct, acquiescence, and/or inaction in failing

                                                                              17 to curtail or remedy cartel and drug violence while intentionally and/or negligently ignoring and

                                                                              18 turning a blind eye to such issues precludes Plaintiff from bringing this lawsuit. Plaintiff’s
                                                                              19 alleged injuries/damages were caused by its own illegal activities or the illegal activities of

                                                                              20 persons under its control. Such illegal activities would include, but are not limited to, illegal

                                                                              21 conduct with the cartels, police and law enforcement corruption, allowing persons to illegally

                                                                              22 possess firearms, obtaining firearms from illegal sources, intentionally and/or negligently

                                                                              23 ignoring and turning a blind eye to drug, cartel and illegal firearms trafficking activities in

                                                                              24 Mexico, and/or other illegal schemes or conduct that resulted in harm to Mexico’s citizens

                                                                              25 and/or violence by the cartels. Further, Plaintiff has failed to control the illegal importation of

                                                                              26 firearms into Mexico on multiple borders, eliminate, curtail or remedy cartel violence, and
                                                                              27 Plaintiff’s own nonfeasance and malfeasance with respect to allowing the cartels to operate

                                                                              28 and/or intentionally and/or negligently ignoring and turning a blind eye to drug, cartel and
                                                                                                                                 65
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                                                                               1 illegal firearms trafficking activities and issues in Mexico has contributed to the alleged injuries

                                                                               2 sustained by Plaintiff.

                                                                               3        13.    Plaintiff’s claims for punitive and/or exemplary damages are precluded by
                                                                               4 operation of Ariz. Rev. Stat. § 12-689.

                                                                               5        14.    Plaintiff is not entitled to a damage award violative of Loan Prairie’s due process
                                                                               6 and equal protection rights, other rights set forth in the United States Constitution or rights

                                                                               7 granted by the Arizona Constitution. Loan Prairie expressly reserves any and all constitutional

                                                                               8 defenses, claims, and arguments against the imposition of punitive damages against it or the

                                                                               9 amount of same or in any other manner relating to punitive damages. Plaintiff’s claim for

                                                                              10 punitive damages against Loan Prairie: violates the Sixth Amendment of the United States

                                                                              11 Constitution because Loan Prairie is not informed of the nature and cause of the accusations
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                                                                              12 against it, and thus, the allegations are void for vagueness; violates Loan Prairie’s rights to

                                                                              13 substantive and procedural due process as provided in the Fifth and Fourteenth Amendments of

                                                                              14 the United States Constitution; violates the due process clause of Fourteenth Amendment to the

                                                                              15 United States Constitution; violates Loan Prairie’s right to equal protection as provided in the

                                                                              16 Fourteenth Amendment to the United States Constitution; violates Loan Prairie’s right to

                                                                              17 contract, as provided in Article I, Section 10 of the United States Constitution; exposes Loan

                                                                              18 Prairie to double jeopardy in violation of the Fifth Amendment of the United States
                                                                              19 Constitution; constitutes an impermissible burden on international and interstate commerce in

                                                                              20 violation of Article I, Section 8 of the United States Constitution; violates the separation of

                                                                              21 powers doctrine embodied in Article VI of the United States Constitution; and constitutes the

                                                                              22 imposition of an excessive fine in violation of Loan Prairie’s rights provided in the Eighth

                                                                              23 Amendment of the United States Constitution. Plaintiff’s claim for punitive or exemplary

                                                                              24 damages is further barred by Article 2, Section 4, of the Arizona Constitution.

                                                                              25        15.    Loan Prairie invokes the provisions of Title 12, Chapter 16 of the Arizona Revised
                                                                              26 Statutes, the Uniform Contribution Among Tortfeasors Act, including the right to contribution,
                                                                              27 pro rata shares, release, comparative negligence, the lack of joint and several liability, and

                                                                              28 apportionment of fault.
                                                                                                                                  66
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                                                                               1         16.    Plaintiff’s claims against Loan Prairie are barred or should be reduced by the
                                                                               2 comparative fault of others, including, but not limited to, Plaintiff, pursuant to Ariz. Rev. Stat. §

                                                                               3 12-2506.

                                                                               4         17.    Loan Prairie did not owe Plaintiff a legal duty to protect Plaintiff or its citizens
                                                                               5 from the particular risk of harm that caused, or was the substantial factor in causing, the

                                                                               6 incidents alleged in the Complaint.

                                                                               7         18.    Plaintiff lacks prudential standing based on its quasi-sovereign interest in the
                                                                               8 health and well-being of its residents because parens patriae standing should not be recognized

                                                                               9 in a foreign nation unless there is a clear indication of intent to grant such standing expressed by

                                                                              10 the Supreme Court or by the two coordinate branches of government.

                                                                              11         19.    All or a portion of Plaintiff’s claims are barred due to the law of the case doctrine.
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                                                                              12         20.    The Court lacks subject matter jurisdiction over this case.
                                                                              13         21.    There was no special relationship between Loan Prairie and Plaintiff and/or the
                                                                              14 third-party actors at fault, so Loan Prairie did not owe Plaintiff a duty as a matter of law.

                                                                              15         22.    Plaintiff’s claims are in violation of the First Amendment of the United States
                                                                              16 Constitution, which guarantees Loan Prairie’s right to commercial free speech.

                                                                              17         23.    Plaintiff’s claims are in violation of the Second Amendment of the United States
                                                                              18 Constitution, which guarantees the right to bear arms, and the citizenry’s right to access such
                                                                              19 arms from Defendant.

                                                                              20         24.    Plaintiff’s claims are barred by the provisions of the Commerce Clause of the
                                                                              21 Constitution of the United States, Article I, Section 8.

                                                                              22         25.    Plaintiff’s negligent entrustment claim fails because this cause of action is
                                                                              23 inapplicable in the context of the sales of chattel alleged in the Complaint.

                                                                              24         26.    Plaintiff’s claims for relief before the Court violate the United States and Arizona
                                                                              25 State constitutional separation of powers in that Plaintiff seeks to have the judicial branch create

                                                                              26 legislative policy.
                                                                              27         27.    Plaintiff’s claims are too remote and derivative to permit recovery as a matter of
                                                                              28 law.
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                                                                               1         28.    Plaintiff’s Complaint, which aggregates unidentified shootings by unidentified
                                                                               2 persons in unidentified circumstances over an unspecified period of time, is barred by the

                                                                               3 Seventh Amendment of the Constitution of the United States.

                                                                               4         29.    Plaintiff’s claims are barred by the doctrine of latches.
                                                                               5                                    DEMAND FOR JURY TRIAL
                                                                               6         Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Loan Prairie demands a trial
                                                                               7 by jury of all issues triable of right by a jury in this action.

                                                                               8
                                                                                         WHEREFORE, Loan Prairie hereby requests the following relief:
                                                                               9
                                                                                         1.     That Plaintiff takes nothing by its Complaint;
                                                                              10
                                                                                         2.     That Plaintiff’s Complaint be dismissed with prejudice on the merits;
                                                                              11
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                                                                                                That Loan Prairie recovers its costs, attorney’s fees, and disbursements herein; and
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                                                                                         3.
                                                                              12

                                                                              13         4.     Such other relief as the Court herein deems just and equitable.

                                                                              14

                                                                              15 Dated: December 2, 2024

                                                                              16                                       RENZULLI LAW FIRM LLP
                                                                              17

                                                                              18                                       By:    /s/ Jeffrey Malsch
                                                                                                                              Christopher Renzulli, Esq. (Pro Hac Vice)
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                                                                                                                              Phoenix, AZ 85044
                                                                              25
                                                                                                                              Attorneys for Defendants
                                                                              26                                              Diamondback Shooting Sports, Inc.,
                                                                                                                              Loan Prairie, LLC d/b/a The Hub,
                                                                              27                                              SNG Tactical, LLC and
                                                                                                                              Sprague’s Sports, Inc.
                                                                              28
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                                                                               1                                  CERTIFICATE OF SERVICE
                                                                               2        I, Jeffrey Malsch, hereby certify that this document was filed with the Clerk of the Court
                                                                               3 via CM/ECF. Those attorneys who are registered with the Court’s electronic filing system may

                                                                               4 access this filing through the Court’s CM/ECF system, and notice of this filing will be sent to

                                                                               5 these parties by operation of the Court’s electronic filings system.

                                                                               6

                                                                               7 Dated: December 2, 2024

                                                                               8

                                                                               9                                            By:    /s/ Jeffrey Malsch
                                                                                                                                   Jeffrey Malsch
                                                                              10
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